                                     EXHIBIT B
                             (Asset Purchase Agreement)




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                                                                            EXECUTION VERSION



                                ASSET PURCHASE AGREEMENT

         This Asset Purchase Agreement (this “Agreement’) is entered into as of November
  22, 2021 (the “Effective Date”) by and among Instantiation LLC (the “Purchaser”),
  Squirrels Research Labs LLC (“SQRL”), and The Midwest Data Company LLC
  (“MWDC’ and, together with SQRL, each a “Seller” and collectively, the “Sellers”). The
  Purchaser and the Sellers are referred to herein individually as a “Party” and, collectively, as the
  “Parties”.

                                                Recitals

       WHEREAS, the Sellers are in the business of the development of high-performance
 computing and blockchain hardware technology and related businesses (the “Acquired
 Business”)-,

         WHEREAS, the Sellers intend to commence a voluntary petition for relief (the
  “Bankruptcy Case”) under subchapter V (§§ 1181-1195) of chapter 11 of the United States
  Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), in the United States
  Bankruptcy Court for the Northern District of Ohio, Eastern Division at Canton (the “Bankruptcy
  Court’); and

        WHEREAS, the Purchaser desires to purchase the Acquired Assets and assume the
 Assumed Liabilities from the Sellers, and the Sellers desire to sell, convey, assign, and transfer to
 the Purchaser the Acquired Assets together with the Assumed Liabilities, in a sale authorized by
 the Bankruptcy Court pursuant to, inter alia, sections 105, 363 and 365 of the Bankruptcy Code,
 in accordance with the other applicable provisions of the Bankruptcy Code and the Federal Rules
 of Bankruptcy Procedure and the local rules for the Bankruptcy Court (collectively, the
 “Bankruptcy Rules”), all on the terms and subject to the conditions set forth in this Agreement
 and subject to entry of the Sale Order.

        NOW, THEREFORE, for and in consideration of the foregoing and their mutual
 covenants and agreements set forth below, and other good and valuable consideration, the receipt
 and sufficiency of which are hereby acknowledged, the parties, intending to be legally bound,
 hereby agree as follows:

                              ARTICLE 1
    PURCHASE AND SALE OF ASSETS; ASSUMPTION OF ASSUMED LIABILITIES

         1.1      Purchase and Sale of Acquired Assets. Pursuant to sections 105, 363 and 365
 of the Bankruptcy Code, on the terms and subject to the conditions set forth herein and in the
 Sale Order, at the Closing, the Sellers shall sell, transfer, assign, convey, and deliver to the
 Purchaser, and the Purchaser shall purchase, acquire, and accept from the Sellers, all of the
 Sellers’ right, title and interest in and to the following assets, properties and rights of the Sellers,
 free and clear of all Encumbrances other than Permitted Encumbrances (the “Acquired Assets”)
 but excluding in all cases the Excluded Assets:

                (a)   all Cash and Cash Equivalents, all bank accounts (including the bank
 accounts listed on Schedule 1.1(a)). and all deposits (including maintenance deposits, customer

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  deposits, and security deposits for rent, electricity, telephone or otherwise) or prepaid or deferred
  charges and expenses, including all lease and rental payments, that have been prepaid by any
  Sellers;

                    (b)   all accounts receivable of the Sellers (the “Acquired AR”);

                  (c)     all leasehold, subleasehold or license interests in real property (including
  the leasehold, subleasehold, or license interests set forth on Schedule 1.1(c)) and any and all
  buildings, structures, fixtures and other improvements thereon owned or leased by the Sellers (the
  “Leased Real Property”) ',

                (d)       all of the Sellers’ tangible assets (including Equipment) (the “Acquired
  Tangible Assets”)',

                  (e)     all Contracts listed on Schedule 1.1(e) and all other Contracts that the
  Purchaser, in its discretion by written notice to the Sellers, designates as “Assigned Contracts”, to
  the extent assignable under applicable Law and contractual restrictions after giving effect to the
  Sale Order (the “Assigned Contracts”)',

                    (f)   all goodwill, payment intangibles and general intangible assets and rights
  of the Sellers;

                 (g)   all Business Intellectual Property, including all rights to collect royalties
  and proceeds in connection therewith;

                 GO all causes of Action, lawsuits, judgments, claims and demands of any
  nature, whether arising by way of counterclaim or otherwise (collectively, the “Assigned Claims”) ',

                (!)    copies of all Documents including, to the extent permitted by applicable
  Law, the employee and personnel records of the Transferred Employees; provided that the Sellers
  may retain copies of any Documents transferred pursuant to this Section 1.1(1) to the extent
  required by Law;

                G)      all of the Sellers’ customer data, lists and information (excluding from the
 foregoing any credit card numbers or related payment source, social security numbers, or other
 personally identifiable information, the transfer of which would contravene applicable privacy
 Law) (the “Customer Information”)',

                 (k)     to the extent transferable under applicable Law after giving the effect to the
  Sale Order, all of the rights, interests and benefits accruing under all Permits, and all pending
  applications and renewals therefor (collectively, the “Assigned Permits”)-,

                    (l)   the insurance claims described on Schedule 1.1 ('ll (the “Insurance
  Claims”)',

                    (m)   all of Seller’s financial accounting Documents; and




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                   00      all other or additional assets, properties, privileges, rights and interests of
  the Sellers relating to the Acquired Business, the Assumed Liabilities or the Acquired Assets (other
  than Excluded Assets) of every kind and description and wherever located, whether known or
  unknown, fixed or unfixed, accrued, absolute, contingent or otherwise, and whether or not
  specifically referred to in this Agreement.

           1.2      Excluded Assets. Notwithstanding anything to the contrary in this Agreement, in
  no event shall the Sellers be deemed to sell, transfer, assign, or convey, and the Sellers shall retain
  all right, title and interest to, in and under the following assets, properties, interests and rights of
  such Seller (collectively, the “Excluded Assets”)'.

                 (a)    all Protected Information that such Seller is prohibited by or would
  otherwise contravene applicable Law from transferring to the Purchaser;

                (b)     any records, documents or other information relating to employees of the
  Sellers who are not Transferred Employees, and any materials containing information about any
  Transferred Employee, disclosure of which would violate applicable Law;

                    (c)   all Contracts other than the Assigned Contracts (the “Excluded
  Contracts”)',

                 (d)     all Documents that are minute books, organizational documents, stock
  registers and such other books and records of any Seller as pertaining to ownership, organization
  or existence of such Seller, Tax Returns (and any related work papers) and any other Tax
  information or records of such Seller, corporate seal, checkbooks, and canceled checks;

                  (e)     such Seller’s claims or other rights under this Agreement, including the
  Purchase Price hereunder, or any agreement, certificate, instrument, or other document executed
  and delivered between such Seller and the Purchaser in connection with the transactions
  contemplated hereby, or any other agreement between such Seller and the Purchaser entered into
  on or after the date hereof; and

                    (f)   all Tax attributes that are not transferred by the operation of applicable Tax
  Law; and

                    (g)   the causes of Action set forth on Schedule 1.2(g') attached hereto.

          1.3     Assumption of Certain Liabilities. On the terms and subject to the conditions set
  forth herein and in the Sale Order, effective as of the Closing, the Purchaser shall irrevocably
  assume from the Sellers (and from and after the Closing pay, perform, discharge, or otherwise
  satisfy in accordance with their respective terms), and the Sellers shall irrevocably convey,
  transfer, and assign to the Purchaser, only the following Liabilities, without duplication and only
  to the extent not paid prior to the Closing (collectively, the “Assumed Liabilities”)'.

                 (a)    all Liabilities of the Sellers under the Assigned Contracts that become due
  from and after the Closing but excluding Liabilities arising out of the Sellers’ performance of the
  Assigned Contracts prior to Closing;


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               (b)    all cure costs required to be paid pursuant to section 365 of the Bankruptcy
  Code in connection with the assumption and assignment of the Assigned Contracts (the “Cure
  Costs”);

                 (c)     all Liabilities arising out of the conduct of the business or the ownership,
  use or operation of the Acquired Assets, in each case, from and after the Closing; and

                   (d)   all Liabilities arising from the Assigned Permits but excluding Liabilities
  arising out of the conduct of the business or the Sellers’ performance of the Assigned Permits prior
  to Closing.

  Notwithstanding anything to the contrary contained herein, “Assumed Liabilities” shall not include
  any Liabilities in respect of any Action or other contested claims against the Sellers, other
  contingent Liabilities, fees of the Sellers’ professional advisors, management incentive plans or
  other Liability not incurred in the Ordinary Course, or any indebtedness, obligation or other claim
  (as defined in the Bankruptcy Code) of any kind arising from any financing including any Liability
  under the DIP Loan Agreement, any other DIP financing, credit facility, revolver, borrowing, debt
  or securities of any kind. All such Liabilities shall constitute “Excluded Liabilities”.

          1.4     Excluded Liabilities. The Purchaser shall not assume, be obligated to pay, perform
  or otherwise discharge or in any other manner be liable or responsible for any Liabilities of, or
  Action against, the Sellers or relating to the Acquired Assets, of any kind or nature whatsoever,
  whether absolute, accrued, contingent or otherwise, liquidated or unliquidated, due or to become
  due, known or unknown, currently existing or hereafter arising, matured or unmatured, direct or
  indirect, and however arising, whether existing on the Closing Date or arising thereafter as a result
  of any act, omission, or circumstances taking place on or prior to the Closing, other than the
  Assumed Liabilities (all such Liabilities that are not Assumed Liabilities being referred to
  collectively herein as the “Excluded Liabilities”).

           1.5      Assumption/Rejection of Certain Contracts.

                 (a)    Assumption and Assignment of Executory Contracts. The Sellers shall
 provide reasonably timely written notice of the motion seeking entry of the Sale Order to all parties
 to any executory Contracts or unexpired leases to which a Seller is a party that are Assigned
 Contracts as of the Closing and take all other actions reasonably necessary to cause such Assigned
 Contracts to be assumed by a Seller and assigned to the Purchaser pursuant to section 365 of the
 Bankruptcy Code. The Sale Order shall provide that as of and conditioned on the occurrence of
 the Closing, the Sellers shall assign or cause to be assigned to the Purchaser, as applicable, the
 Assigned Contracts, each of which shall be identified by the name or appropriate description and
 date of the Assigned Contract (if available), the other party to the Assigned Contract and the
 address of such party for notice purposes (if available), all included on an exhibit attached to either
 a notice filed in connection with the motion for approval of the Sale Order or a separate motion
 for authority to assume and assign such Assigned Contracts. Such exhibit shall also set forth the
 applicable Seller’s good faith estimate of the amounts necessary to cure any defaults under each
 of the Assigned Contracts as determined by such Seller based on such Seller’s books and records
 or as otherwise determined by the Bankruptcy Court. At the Closing, such Seller shall, pursuant
 to the Sale Order, assume and assign to the Purchaser (the consideration for which is included in
 the Purchase Price), all Assigned Contracts that may be assigned by any such Seller to the
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  Purchaser pursuant to sections 363 and 365 of the Bankruptcy Code. At the Closing, the Purchaser
  shall assume, and thereafter in due course and in accordance with its respective terms pay, fully
  satisfy, discharge and perform all of the obligations under each Assigned Contract constituting
  Assumed Liabilities pursuant to section 365 of the Bankruptcy Code.

                 (b)    Non-Assignment. Notwithstanding the foregoing, a Contract shall not be an
 Assigned Contract hereunder and shall not be assigned to, or assumed by, the Purchaser to the
 extent that such Contract (i) is rejected or terminated by a Seller in accordance with the terms of
 this Agreement or is terminated by any other party thereto, or terminates or expires by its terms,
 on or prior to such time as it is to be assumed by the Purchaser as an Assigned Contract hereunder
 and is not continued or otherwise extended upon assumption or (ii) requires a Consent or
 Governmental Authorization (other than, and in addition to, that of the Bankruptcy Court) in order
 to permit the sale or transfer to the Purchaser of a Seller’s rights under such Contract, and such
 Consent or Governmental Authorization has not been obtained prior to such time as it is to be
 assumed by the Purchaser as an Assigned Contract hereunder. In the event that any Assigned
 Contract is deemed not to be assigned pursuant to clause (ii) of the first sentence of this Section
 1.5(b), the Closing shall nonetheless take place subject to the terms and conditions set forth herein
 and, thereafter, through the earlier of such time as such Consent or Governmental Authorization
 is obtained and six (6) months following the Closing (or the remaining term of such Contract or
 the closing of the Bankruptcy Case, if shorter), the Sellers and the Purchaser shall (A) use
 reasonable best efforts to secure such Consent or Governmental Authorization as promptly as
 practicable after the Closing and (B) cooperate in good faith in any lawful and commercially
 reasonable arrangement reasonably proposed by the Purchaser, including subcontracting,
 licensing, or sublicensing to the Purchaser any or all of the Sellers’ rights and obligations with
 respect to any such Assigned Contract, under which (1) the Purchaser shall obtain (without
 infringing upon the legal rights of such third party or violating any Law) the economic rights and
 benefits (net of the amount of any related Tax costs imposed on the Sellers or its Affiliates) under
 such Assigned Contract with respect to which the Consent and/or Governmental Authorization has
 not been obtained and (2) the Purchaser shall assume any related burden and obligation (including
 performance) with respect to such Assigned Contract constituting Assumed Liabilities. Upon
 satisfying any requisite Consent or Governmental Authorization requirement applicable to such
 Assigned Contract after the Closing, such Assigned Contract shall promptly be transferred and
 assigned to the Purchaser in accordance with the terms of this Agreement, the Sale Order and the
 Bankruptcy Code.

         1.6    Purchase Price. The consideration payable by the Purchaser to the Sellers for the
 Acquired Assets shall be equal to $3,010,000 in cash (the “Purchase Price”) plus assumption of
 the Assumed Liabilities; provided, that of the Purchase Price, $10,000 is allocated to and shall be
 paid to MWDC in respect of the Acquired Assets to be sold by MWDC to the Purchaser pursuant
 to this Agreement. Within five (5) Business Days of the execution of this Agreement, the
 Purchaser shall deliver to the Sellers $25,000 (the “Deposit'), which amount shall be applied to
 the Purchase Price at the Closing.

          1.7     Closing. The closing of the purchase and sale of the Acquired Assets, the delivery
  of the Purchase Price, the assumption of the Assumed Liabilities and the consummation of the
  other transactions contemplated by this Agreement (the “Closing”) will take place by telephone
  conference and electronic exchange of documents at 10:00 a.m. Canton, Ohio time on the second

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  (2nd) Business Day following full satisfaction or due waiver (by the Party entitled to the benefit
  of such condition) of the closing conditions set forth in Article 6 (other than conditions that by
  their terms or nature are to be satisfied at the Closing, but subject to the satisfaction or waiver of
  those conditions), or at such other place and time as the Parties may agree. The date on which the
  Closing actually occurs is referred to herein as the “Closing Date”.

          1.8     Closing Deliveries by the Sellers. At or prior to the Closing, the Sellers shall
  deliver to the Purchaser:

                    (a)   all required documentation for Transfer Taxes, duly executed by the Sellers;

                (b)    each instrument of assignment and assumption of the Leased Real Property
 and other unexpired leases and executory contracts as set forth on Schedule 1.1(c). in each case,
 in form and substance approved by the Purchaser (the “Assignments and Assumptions of
 Leases”), duly executed (and acknowledged as applicable) by the Sellers;

                 (c)     copies of all reasonable and customary instruments, certificates, documents
  and other filings (if applicable) necessary to release the Acquired Assets from Encumbrances,
  including any applicable UCC termination statements and releases of mortgages, in form and
  substance appropriate for recording;

                    (d)   a copy of the Sale Order, as entered by the Bankruptcy Court;

               (e)     a duly executed certificate from each Seller, satisfying the requirements of
  Treasury Regulation 1.1445-2(b)(2);

                    (f)   a duly executed IRS Form W-9 with respect to each Seller;

                 (g)      a copy of the resolutions adopted by the board of directors (or similar
  governing body) of the Sellers evidencing the authorization of the execution of this Agreement
  and the consummation of the transactions contemplated by this Agreement, certified by an
  authorized officer of the Sellers;

                (h)      an officer’s certificate, dated as of the Closing Date, executed by a duly
 authorized officer of the Sellers certifying that the conditions set forth in Sections 6.2(b) and 6.2(c)
 have been satisfied; and

                (i)    such other documents as the Purchaser may reasonably request that are
 customary for a transaction of this nature and necessary to evidence or consummate the
 transactions contemplated by this Agreement.

          1.9     Closing Deliveries by the Purchaser. At the Closing, the Purchaser shall deliver
  to the Sellers:

                    (a)   The Purchase Price;

               (b)     each Assignment and Assumption of Leases, duly executed (and
  acknowledged, as applicable) by the Purchaser;


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                 (c)      a copy of the resolutions adopted by the board of directors (or similar
  governing body) of the Purchaser evidencing the authorization of the execution of this Agreement
  and the consummation of the transactions contemplated by this Agreement, certified by an
  authorized officer of the Purchaser;

                 (d)     an officer’s certificate, dated as of the Closing Date, executed by a duly
  authorized officer of the Purchaser certifying that the conditions set forth in Sections 6.3(a) and
  6.3(b) have been satisfied; and

                 (e)    such other documents as the Sellers may reasonably request that are
  customary for a transaction of this nature and necessary to evidence or consummate the
  transactions contemplated by this Agreement.

          1.10 Withholding. The Purchaser shall be entitled to deduct and withhold from any
  amounts otherwise payable pursuant to this Agreement to the extent required by applicable Law.
  Prior to making any withholding, the Purchaser must notify the Sellers at least five (5) Business
  Days prior to the effective date of any potentially applicable withholding requirement that the
  Purchaser believes applies, and each of the Parties agrees to take commercially reasonable efforts
  to cooperate to eliminate or reduce any such deduction or withholding. To the extent that amounts
  are withheld and paid to the applicable Governmental Body, such withheld amounts shall be
  treated for all purposes of this Agreement as having been paid to the Person in respect of whom
  such deduction and withholding was made.

                                    ARTICLE 2
                  REPRESENTATIONS AND WARRANTIES OF THE SELLERS

                  Except as set forth in the Schedules delivered by the Sellers to the Purchaser
  concurrently herewith, the Sellers, jointly and severally, represent and warrant to the Purchaser as
  follows as of the date hereof and as of the Closing Date (except where a representation or warranty
  is limited to a specific date, in which case such representation and warranty is given only as of
  such specific date):

         2.1      Organization and Qualification. Such Seller (a) is an entity duly incorporated or
  organized, validly existing and in good standing under the Laws of the jurisdiction of its
  incorporation or organization, as applicable, (b) has all requisite power and authority to own and
  operate its properties and to carry on its businesses as now conducted, subject to the provisions of
  the Bankruptcy Code, and (c) is qualified to do business and is in good standing (or its equivalent)
  in every jurisdiction in which its ownership of property or the conduct of its business as now
  conducted requires it to qualify, in the case of (b) and (c), except as could not, individually or in
  the aggregate, reasonably be expected to have a Material Adverse Effect.

         2.2    Authorization of Agreement. The execution, delivery, and performance of this
 Agreement and each of the documents and agreements contemplated hereby to which such Seller
 is a party, and the consummation by such Seller of the transactions contemplated hereby and
 thereby, subject to requisite Bankruptcy Court approvals, have been duly and validly authorized
 by all requisite corporate or similar organizational action, and no other corporate or similar
 organizational proceedings on its part are necessary to authorize the execution, delivery or
 performance of this Agreement and each of the documents and agreements contemplated hereby

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  to which such Seller is a party by such Seller. Subject to requisite Bankruptcy Court approvals,
  this Agreement and each of the documents and agreements contemplated hereby to which such
  Seller is a party has been duly and validly executed and delivered by such Seller, and, assuming
  this Agreement is a valid and binding obligation of the Purchaser, this Agreement and each of the
  documents and agreements contemplated hereby to which such Seller is a party constitutes a valid
  and binding obligation of such Seller, enforceable against such Seller in accordance with its terms,
  subject to applicable bankruptcy, insolvency, reorganization, moratorium and similar applicable
  Laws affecting creditors’ rights and remedies generally, and subject, as to enforceability, to general
  principles of equity, including principles of commercial reasonableness, good faith and fair dealing
  (regardless of whether enforcement is sought in a proceeding at law or in equity) (the
  “Enforceability Exceptions").

           2.3      Conflicts: Consents.

                  (a)     Assuming that requisite Bankruptcy Court approvals are obtained, the
 execution, delivery and performance by the Sellers of this Agreement and each of the documents
 and agreements contemplated hereby to which the Sellers is a party and the consummation by the
 Sellers of the transactions contemplated hereby and thereby, do not: (i) violate the certificate of
 formation, limited liability company agreement or equivalent organizational documents of the
 Sellers; (ii) violate any Law applicable to the Sellers; or (iii) result in any breach of, constitute a
 default (or an event that, with notice or lapse of time or both, would become a default) under,
 create in any party thereto the right to terminate or cancel, or require any consent under, or result
 in the creation or imposition of any Encumbrance (other than a Permitted Encumbrance) on any
 property or asset of the Sellers under, any Assigned Contracts; except, in the case of clauses (ii)
 and (iii), for any such violations, breaches, defaults or other occurrences as could not, individually
 or in the aggregate, reasonably be expected to be material to the Acquired Business.

                  (b)    The Sellers are not required to file, seek or obtain any notice, authorization,
 approval, Order, permit, or consent of or with any Governmental Body in connection with the
 execution, delivery and performance by the Sellers of this Agreement and each of the documents
 and agreements contemplated hereby to which each Seller is a party or the consummation by such
 Seller of the transactions contemplated hereby and thereby, except (i) requisite Bankruptcy Court
 approvals, (ii) where failure to obtain such consent, approval, authorization or action, or to make
 such filing or notification, is not and could not, individually or in the aggregate, reasonably be
 expected to be material to the Acquired Business, or (iii) as may be necessary as a result of any
 facts or circumstances relating to Purchaser or any of its Affiliates.

           2.4      Title to Properties.

                 (a)    Schedule 1.1(c) contains a correct and complete list of the Leased Real
 Property as of the date hereof. Subject to requisite Bankruptcy Court approvals, and assumption
 by the Sellers of the applicable lease in accordance with applicable Law (including satisfaction of
 any applicable Cine Costs) and except as a result of the commencement of the Bankruptcy Case,
 the Sellers have a valid leasehold estate in the Leased Real Property, free and clear of all
 Encumbrances, other than Permitted Encumbrances. The Sellers have not leased to or otherwise
 granted to any Person the right to use or occupy any Leased Real Property except as could not,



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  individually or in the aggregate, reasonably be expected to materially impair the use or occupancy
  of such Leased Real Property in the operation of the Acquired Business.

                  (b)     Subject to requisite Bankruptcy Court approvals and assumption by such
  Seller of the applicable Contract in accordance with applicable Law (including satisfaction of any
  applicable Cure Costs) and except as a result of the commencement of the Bankruptcy Case, such
  Seller owns good title to, or holds a valid leasehold interest in, all of the material tangible property
  (including the Equipment) used or held for use in the conduct of the Acquired Business as now
  conducted, free and clear of all Encumbrances, except for Permitted Encumbrances, other than any
  failure to own or hold such tangible property as could not, individually or in the aggregate,
  reasonably be expected to be material to the operation of the Acquired Business.

                 (c)    The Acquired Assets include all of the properties and assets required to
  operate, in all material respects, the Acquired Business in the Ordinary Course as currently
  operated by such Seller.

                 (d)     After giving effect to the Closing, the Purchaser will hold good title to, or
  will hold a valid leasehold interest in, the Acquired Assets free and clear of all Encumbrances
  (other than Permitted Encumbrances) pursuant to the Sale Order.

           2.5       Contracts.

                  (a)    Except as set forth on Schedule 2.5(al. Contracts entered into by the Sellers
  after the date hereof in compliance with the terms of this Agreement, and Contracts that are not
  primarily related to the Acquired Business, such Seller is not a party to any:

                             (i)      collective bargaining agreement with any labor union;

                         (ii)   Contract under which such Seller has borrowed any money or issued
  any note, indenture or other evidence of similar indebtedness or guaranteed such indebtedness of
  others;

                       (iii)    license of any Intellectual Property (other than licenses of
  commercially available, off-the-shelf software and other than licenses entered into in the Ordinary
  Course);

                        (iv)   lease or other Contract under which such Seller is lessee of, or holds
  or operates any personal property owned by any third party;

                        (v)     Contract or group of related Contracts with the same party for the
  purchase of products or services (other than purchase orders entered into in the Ordinary Course);

                       (vi)  Contract that materially limits or purports to limit the ability of the
  Acquired Business to compete in any line of business or with any Person or in any geographic
  area;

                       (vii) Contract relating to any acquisition or disposition by such Seller of
  any business (whether by asset or stock purchase or otherwise) or any merger, consolidation or

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  similar business combination transaction, in each case, pursuant to which such Seller has any
  outstanding obligation to pay any purchase price thereunder;

                            (viii)   Contract relating to any joint venture or partnership; or

                            (ix)     agreement in writing to enter into any of the foregoing.

                  (b)    Subject to requisite Bankruptcy Court approvals and assumption by such
  Seller of the applicable Contract in accordance with applicable Law and except as a result of the
  commencement of the Bankruptcy Case or as would not, individually or in the aggregate,
  reasonably be expected to be material to the Acquired Business, as of the date hereof, each of the
  Assigned Contracts is in full force and effect and is a valid, binding and enforceable obligation of
  such Seller and, to the Knowledge of such Seller, each of the other parties thereto, except as may
  be limited by the Enforceability Exceptions. Except, as a result of the commencement of the
  Bankruptcy Case, or as could not, individually or in the aggregate, reasonably be expected to be
  material to the Acquired Business, such Seller is not in material default, or is alleged in writing by
  the counterparty thereto to have materially breached or to be in material default, under any
  Assigned Contract, and, to the Knowledge of such Seller, the other party to each Assigned Contract
  is not in material default thereunder. As of the date hereof, none of the Assigned Contracts has
  been canceled or otherwise terminated, and such Seller has not received any written notice from
  any Person regarding any such cancellation or termination except as could not, individually or in
  the aggregate, reasonably be expected to be material to the Acquired Business.

          2.6     Litigation. Other than the Bankruptcy Case and the Actions set forth on Schedule
  2.6. there are no Actions pending or, to the Seller’s Knowledge, threatened against or by the Sellers
  or any of its Affiliates with respect to the Acquired Business, at law or in equity, or before or by
  any Governmental Body. Other than in connection with the Bankruptcy Case, the Sellers are not
  subject to any outstanding Order.

           2.7      Permits; Compliance with Laws.

                  (a)      Except as would not, individually or in the aggregate, reasonably be
  expected to be material to the Acquired Business, the Sellers hold and is in compliance with all
  permits, certificates, licenses, approvals, registrations and authorizations that are material to the
  Acquired Business and required in connection with the conduct of its business as operated by the
  Sellers under applicable Laws (the “Permits”). Except as would not, individually or in the
  aggregate, reasonably be expected to be material to the Acquired Business, all of the Permits are
  valid and in full force and effect and no Action is pending, or, to the Seller’s Knowledge,
  threatened, which seeks to revoke, limit or otherwise affect any such Permit.

                  (b)     During the prior five (5) years the Sellers have not received any written
  notice of any Action against it alleging any failure to comply in any material respect with any
  Laws, except in each case as could not, individually or in the aggregate, reasonably be expected to
  be material to the Acquired Business. No investigation by any Governmental Body with respect
  to each Seller or any of its Affiliates is pending or, to the Seller’s Knowledge, threatened, and
  during the prior five (5) years the Sellers have not received any written notice of any such
  investigation, except, in each case, for any such investigation that could not, individually or in the
  aggregate, reasonably be expected to be material to the Acquired Business.

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           2.8       Environmental Matters.

                 (a)    The Sellers are in compliance in all material respects with all applicable
  Environmental Laws, which compliance has included obtaining all material permits, licenses and
  authorizations required under applicable Environmental Laws, except in each case for any
  noncompliance that could not, individually or in the aggregate, reasonably be expected to have a
  Material Adverse Effect;

                  (b)   The Sellers have not during the prior five (5) years received written notice
  from any Governmental Body regarding any actual or alleged violation of or liability under
  Environmental Laws that could, individually or in the aggregate, reasonably be expected to be
  material to the Acquired Business; and

                  (c)     To the Knowledge of the Sellers, no Hazardous Substance has been released
  by the Sellers in violation of, and in a manner that would result in liability for the Sellers under,
  any Environmental Law, except as would not, individually or in the aggregate, reasonably be
  expected to be material to the Acquired Business.

           2.9       Intellectual Property.

                  (a)     Schedule 2.9(a) sets forth a correct and complete list of all material
  registered Intellectual Property, and all applications for registrations of Business Intellectual
  Property, in each case, filed with the United States Patent and Trademark Office and owned by the
  Sellers (collectively, “Registered Intellectual Property”).

                 (b)     The Business Intellectual Property is owned by the Sellers free and clear of
  all Encumbrances, other than Permitted Encumbrances. The Business Intellectual Property is
  subsisting and, to the Knowledge of the Seller, enforceable.

                 (c)    To the Knowledge of the Sellers, the Acquired Business does not infringe,
  misappropriate or otherwise violate any Intellectual Property of any other Person, except where
  such infringement, misappropriation or violation could not, individually or in the aggregate,
  reasonably be expected to be material to the Acquired Business.

                  (d)    To the Knowledge of the Sellers, no third party infringes, misappropriates
  or otherwise violates any Business Intellectual Property, except where such infringement,
  misappropriation or violation could not, individually or in the aggregate, reasonably be expected
  to be material to the Acquired Business.

                  (e)   The Sellers have used efforts that are reasonable under the circumstances to
  maintain the secrecy of the material Trade Secrets included in the Business Intellectual Property,
  except where such failure could not, individually or in the aggregate, reasonably be expected to be
  material to the Acquired Business.

          2.10 Data Security. Except as could not, individually or in the aggregate, reasonably be
  expected to be material to the Acquired Business, the Sellers maintain commercially reasonable
  policies and procedures regarding data privacy, protection and security designed to protect any
  personally identifiable information of any individuals, including any customers, prospective

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  customers, employees and/or other third parties directly related to the Acquired Business collected
  by the Sellers. Except as could not, individually or in the aggregate, reasonably be expected to be
  material to the Acquired Business, to the Knowledge of the Sellers, the transactions contemplated
  by this Agreement will not result in a breach of such Seller’s published privacy policies in effect
  as of the date hereof. The Sellers and their respective Affiliates are in compliance in all material
  respects with all Laws relating to data loss, theft and breach of security notification obligations.

           2.11     Seller Plans. Sellers have no Liabilities under any Seller Plans.

           2.12     Employees.

                 (a)    The Sellers have delivered to the Purchaser a correct and complete list of
  all Business Employees as of the date hereof, specifying their position, location, annual salary,
  date of hire and target bonus (including any incentive or retention payment opportunity in
  connection with Bankruptcy Case). With respect to the Business Employees, the Sellers are in
  compliance in all material respects with all applicable Laws relating to the employment of labor,
  including provisions thereof relating to wages, hours, equal opportunity, collective bargaining,
  layoffs and immigration compliance, except for such non-compliance that is not material to the
  Acquired Business. With respect to the Business Employees, there are no administrative charges
  or court complaints pending or, to the Seller’s Knowledge, threatened against the Sellers or any of
  its Affiliates before the U.S. Equal Employment Opportunity Commission or any other
  Governmental Body concerning alleged employment discrimination or any other matters relating
  to the employment of labor, in each case, that could reasonably be expected to be material to the
  Acquired Business.

                 (b)     There is no unfair labor practice charge or complaint pending or, to the
  Seller’s Knowledge, threatened against the Sellers or any of its Affiliates before the National Labor
  Relations Board or any similar foreign, state or local body with respect to any Business Employees.
  To the Knowledge of the Sellers, during the prior five (5) years, and other than work stoppages or
  slowdowns resulting from the COVID-19 pandemic and associated “stay-at-home”, “shelter-in­
  place” and similar orders of Governmental Bodies, the Sellers have not experienced any union
  organizing or decertification activities, work stoppage, slowdowns or other material labor disputes
  with respect to Business Employees, and, to the Knowledge of the Seller’s no such activities or
  disputes are underway or threatened.

           2.13     Tax Matters.

                  (a)    All Tax Returns required to be filed under applicable Law by the Sellers
  with respect to the Acquired Assets or the Acquired Business have been filed and such Tax Returns
  are correct and complete in all material respects.

                 (b)    All Taxes shown as due from the Sellers with respect to the Acquired Assets
  or the Acquired Business have been paid, except (i) to the extent nonpayment of which is permitted
  or required by the Bankruptcy Code and (ii) for Taxes that are being disputed by the Sellers in
  good faith.

                 (c)   No written notice from any Governmental Body of proposed adjustment,
  deficiency or underpayment of material Taxes with respect to the Sellers, the Acquired Assets or

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  the Acquired Business has been received by any Seller that has not since been satisfied by payment
  or been withdrawn. No Seller has waived any statute of limitations or agreed to any extension of
  time during which a material Tax or deficiency assessment may be made with respect to the
  Acquired Assets or the Acquired Business.

                (d)     To the Seller’s Knowledge, there are no Encumbrances for Taxes on the
  Acquired Assets or the Acquired Business, other than Permitted Encumbrances.

                 (e)    The Sellers have collected or withheld all amounts required to be collected
  or withheld by the Sellers for all Taxes in compliance with applicable Law, and all such amounts
  have been paid to the appropriate Governmental Body or set aside in appropriate accounts for
  future payment when due, in each case, in accordance with applicable Law.

                  (f)    To the Seller’s Knowledge, no Governmental Body has in the last five (5)
  years made a claim that the Sellers, the Acquired Assets or the Acquired Business are or may be
  subject to taxation by a jurisdiction in which Tax Returns are not filed by, or with respect to, the
  Sellers, the Acquired Assets or the Acquired Business, as applicable.

          2.14 Brokers. There are no claims for brokerage commissions, finders’ fees or similar
  compensation in connection with the transactions contemplated by this Agreement based on any
  arrangement or agreement made by or on behalf of the Sellers that would become the obligation
  of the Purchaser or its Affiliates after the Closing.

           2.15     Compliance with Applicable Sanctions and Embargo Laws.

                  (a)      Neither the Sellers nor any of their respective Affiliates is (i) a person or
  entity named on the List of Specially Designated Nationals and Blocked Persons administered by
  the U.S. Treasury Department’s Office of Foreign Assets Control (“OFAC”), the OFAC
  Consolidated Sanctions List or in any Executive Order issued by the President of the United States
  and administered by OFAC, or a person or entity prohibited by any OFAC sanctions program or a
  person or entity whose property and interests in property subject to U.S. jurisdiction are otherwise
  blocked under any U.S. laws, Executive Orders or regulations; (ii) an entity owned, directly or
  indirectly, individually or in the aggregate, fifty percent or more by one or more persons described
  in subsection (i); (iii) a person or entity listed on the Sectoral Sanctions Identifications (“AST”)
  List maintained by OFAC or otherwise determined by OFAC to be subject to one or more of the
  Directives issued under Executive Order 13662 of March 20, 2014, or an entity owned, directly or
  indirectly, individually or in the aggregate, fifty percent or more by one or more persons or entities
  that are subject to the SSI List restrictions; or (iv) a person or entity named on the U.S. Department
  of Commerce, Bureau of Industry and Security Denied Persons List, Entity List, or Unverified
  List.

                 (b)      Neither the Sellers nor any of its respective Affiliates has violated any
  applicable sanctions, embargo, or export control laws or regulations, except as could not,
  individually or in the aggregate, reasonably be expected to be material to the Acquired Business.

          2.16 Compliance with Applicable Anti-Bribery and Anti-Corruption Law. Neither
  the Sellers nor any of its respective Affiliates has, directly or indirectly: (a) made, offered, or paid
  any illegal contributions, payments, bribes, kickbacks, expenditures, gifts or similar payments or

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  provided any unlawful compensation or gifts or payments to any officer, employee, or
  representative of any Governmental Body, or any employee, customer or supplier of the Sellers or
  any other Person, in each case, in violation of applicable Law; (b) made or offered to make any
  improper payment to any foreign official (as defined in the FCPA); or (c) taken any other action
  that would cause the Sellers to be in violation of any Anti-Bribery and Anti-Corruption Law.

          2.17 Financial Statements. The Sellers have delivered to the Purchaser correct and
  complete copies of (i) the unaudited balance sheet of the Sellers as of, and the consolidated
  statements of operations, changes in members’ equity and cash flows for, the fiscal year ended on
  December 31, 2020 and (ii) the unaudited balance sheet of the Sellers as of, and the consolidated
  statements of operations and cash flow for, the nine month period ended on September 30, 2021
  (collectively, the “Financial Statements”). The Financial Statements have not been prepared in
  accordance with GAAP but presently fairly, in all material respects, the financial position of the
  Sellers as of the respective dates thereof and for the periods indicated therein (subject to normal
  and recurring year-end adjustments and the absence of footnotes).

            2.18 Absence of Changes. Except as a result of or in connection with the Bankruptcy
  Case, (a) there has not been a Material Adverse Effect and (b) the Sellers have not taken any action
  that, if taken following September 30, 2021, would have violated Section 5.1.

          2.19 Insurance. The Sellers are in material compliance with the terms and provisions
  of its policies of insurance, all such policies are in full force and effect and all premiums due and
  payable with respect to such policies have been paid. The Sellers have not received a written
  notice of cancellation or termination of any such policy. Except for the Insurance Claims, there
  are no pending claims or, to the Seller’s Knowledge, incidents that would give rise to a claim under
  any such policy. The sale and transfer of the Insurance Claims contemplated by this Agreement
  is not prohibited by any legal, contractual, or other restriction. For the avoidance of doubt, and
  without limiting the generality of the foregoing, the Sellers are free to assign and sell the Insurance
  Claims to the Purchaser in compliance with the Sellers’ insurance policies.

         2.20 Bank Accounts. Schedule 1.1(a) is a list as of the date hereof of Sellers’ bank
  accounts (including any deposit accounts, securities accounts and any sub-accounts).

       2.21 Disclaimer of Other Representations and Warranties. NOTWITHSTANDING
  THE DELIVERY OR DISCLOSURE TO PURCHASER OR ITS RESPECTIVE OFFICERS,
  DIRECTORS, EMPLOYEES, AGENTS OR ADVISORS OF ANY DOCUMENTATION OR
  OTHER INFORMATION (INCLUDING ANY FINANCIAL PROJECTIONS OR OTHER
  SUPPLEMENTAL DATA), EXCEPT AS EXPRESSLY SET FORTH IN THIS ARTICLE 2 OR
  IN ANY DOCUMENT OR AGREEMENT CONTEMPLATED HEREBY, NEITHER THE
  SELLERS, ANY AFFILIATE OF A SELLER OR ANY OF THEIR RESPECTIVE ADVISORS
  OR ANY OTHER PERSON MAKES ANY REPRESENTATION OR WARRANTY, EXPRESS
  OR IMPLIED, AT LAW OR IN EQUITY, WITH RESPECT TO THIS AGREEMENT, THE
  TRANSACTIONS CONTEMPLATED HEREBY (INCLUDING ANY CONSENTS OR
  APPROVALS REQUIRED IN CONNECTION THEREWITH), THE ACQUIRED ASSETS,
  THE ACQUIRED BUSINESS, THE ASSUMED LIABILITIES, THE EXCLUDED ASSETS,
  OR ANY INFORMATION PROVIDED OR MADE AVAILABLE TO THE PURCHASER IN
  CONNECTION THEREWITH (INCLUDING ANY FORECASTS, PROJECTIONS,

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  ESTIMATES OR BUDGETS), INCLUDING ANY WARRANTY WITH RESPECT TO
  MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE, AND ALL
  OTHER REPRESENTATIONS OR WARRANTIES ARE HEREBY EXPRESSLY
  DISCLAIMED.

                                     ARTICLE 3
                 REPRESENTATIONS AND WARRANTIES OF THE PURCHASER.

           The Purchaser represents and warrants, to and for the benefit of the Sellers, as follows:

          3.1     Authority; Binding Nature of Agreement. This Agreement constitutes the legal,
  valid and binding obligation of the Purchaser, enforceable against it in accordance with its terms,
  subject to the Enforceability Exceptions.

          3.2    Due Authorization. The Purchaser has all requisite power and authority to enter
  into this Agreement, to carry out its obligations hereunder and to consummate the transactions
  contemplated hereby. The execution, delivery and performance by the Purchaser of this Agreement
  have been duly approved and authorized by all necessary action.

                                        ARTICLE 4
                                BANKRUPTCY COURT MATTERS

           4.1       Bankruptcy Actions.

                  (a)    The Sellers and the Purchaser acknowledge that this Agreement and the sale
  of the Acquired Assets are subject to higher and better bids and Bankruptcy Court approval
  pursuant to the Bid Procedures Order. The Purchaser acknowledges that the Sellers must take
  reasonable steps to demonstrate that they have sought to obtain the highest or otherwise best price
  for the Acquired Assets, including giving notice thereof to the creditors of the Sellers and other
  interested parties, providing information about the Sellers to prospective bidders, entertaining
  higher and better offers from such prospective bidders, and, in the event that additional qualified
  prospective bidders desire to bid for the Acquired Assets, conducting an Auction.

                  (b)     The Sellers shall use reasonable best efforts to cause the Bankruptcy Court
  to enter the Bid Procedures Order approving Bid Procedures acceptable to both the Purchaser and
  Sellers and consistent with the provisions and obligations set forth in Section 4.1(c) and 4.1(d)
  below, as soon as practicable after full execution of this Agreement. If the Bankruptcy Court does
  not approve the Bid Procedures in their entirety, or if the Purchaser does not accept any modified
  terms approved by the Bankruptcy Court, then the Purchaser shall have the right to terminate this
  Agreement and neither party shall have any further obligation under this Agreement except for
  Sellers’ obligation to return the Deposits as provided for in Section 7.2.

                  (c)     If the Purchaser is not the Successful Bidder (as defined in Section 4.1(e) at
  the Auction, if any is held, or if the Sellers defaults under this Agreement pursuant to Section 9.4,
  Sellers shall, subject to Bankruptcy Court approval in connection with the approval of the Bid
  Procedures, pay to the Purchaser the Break-Up Fee as set forth in Section 7.3 as and for
  consideration of the Purchaser conducting its due diligence and entering into this Agreement
  subject to higher and better offers pursuant to the Auction, to compensate the Purchaser for its

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  legal, accounting, and other professional costs and expenses, as well as the Purchaser’s internal
  management time, incurred in connection with the proposed sale.

                      (d)     Competing Bid Requirements.

                          (i)     A competing bid must be in the form of cash in an amount equal to
  or greater than the sum of the Purchase Price, plus (1) the amount of the Break-Up Fee, plus (2)
  the aggregate amount require to pay in Ml all amounts then owed under the DIP Loan Agreement
  (including interest, penalties, and fees), plus (3) Fifty Thousand Dollars ($50,000) (the “Opening
  Bid?'), plus the value of Assumed Liabilities under this Agreement, and otherwise meet the
  financing and other requirements set forth in the Bid Procedures, including such requirements set
  forth in Section 4,l(d)(ii) (such bid, a “Qualified Competing Bid”). If there is a Qualified
  Competing Bid, Seller shall hold an auction for the Acquired Assets (the “Auction”) within five
  (5) Business Days of the Bid Deadline, provided, however, if the fifth (5th) day is not a Business
  Day, then the first Business Day following the fifth (5th) day, and as more fully described in the
  Bid Procedures (the “Auction Date”). At the Auction, the first subsequent bid must exceed the
  Opening Bid by at least Fifty Thousand Dollars ($50,000). Thereafter and continuing until there
  is only one (1) bidder remaining, each bidder must increase the subsequent bid in an amount of at
  least Fifty Thousand Dollars ($50,000) to remain a bidder in the Auction. To determine the
  winning bid at any such Auction, the Sellers shall evaluate the value to be provided under the bids,
  including the net economic effect upon Sellers’ estate, taking into account the Break-Up Fee owed
  to the Purchaser and the obligations assumed by the Purchaser under this Agreement.

                          (ii)   To be deemed a Qualified Competing Bid, a bidder must comply
  with the Bid Procedures, including, without limitation: (1) submit its bid using an Asset Purchase
  Agreement substantially in the form of this Agreement, with a copy marked to show changes, if
  any, from this Agreement; (2) submit its bid by no later than 5:00 p.m. PST thirty (30) days after
  the entry of the Bid Procedures Order (the “Bid Deadline”)', (3) not include any contingencies to
  closing the transaction in its bid, including, without limitation, financing, inspection, and due
  diligence contingencies; (4) be able to close the transaction no later than fifteen (15) days after
  entry of the Sale Order as further explained in the Bid Procedures; (5) provide at the time of its bid
  (A) a representation that the bidder has the financial ability to perform and provide evidentiary
  documentation demonstrating such financial ability to close (e.g., financial statements and bank
  statements that show available cash necessary to close the transaction) that are satisfactory to the
  Sellers in its reasonable discretion; and (B) a representation that the bidder is duly authorized to
  submit the bid and close the transaction and has already obtained all necessary approvals (e.g.,
  board approvals), plus, if requested by Sellers, supporting documents satisfactory to Sellers in its
  reasonable discretion; and (6) submit with its bid a good-faith deposit in the amount of One
  Hundred Fifty Thousand Dollars ($150,000).

                  (e)     If an Auction is conducted, and the Purchaser is not the prevailing party at
  the conclusion of such Auction (such prevailing party, the “Successful Bidder”), the Purchaser
  shall be required to serve as a back-up bidder (the “Backup Bidder”) and keep the Purchaser’s bid
  to consummate the transactions contemplated by this Agreement on the terms and conditions set
  forth in this Agreement (as the same may be revised in the Auction) open and irrevocable until this
  Agreement is otherwise terminated. If the Successful Bidder fails to consummate the applicable
  Alternative Transaction as a result of a breach or failure to perform on the part of such SuccessM

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  Bidder, the Backup Bidder will be deemed to have the new prevailing bid, and the Sellers may
  consummate the transactions contemplated by this Agreement on the terms and conditions set forth
  in this Agreement as such terms may have been improved upon in the Auction.

                  (f)    Notwithstanding anything herein to the contrary, the Purchaser
  acknowledges that the Sellers and their respective Affiliates and their respective professional
  advisors may, subsequent to the entry of the Bid Procedures Order, continue (i) soliciting inquiries,
  proposals, or offers for the Acquired Assets in connection with any Alternative Transaction, (ii)
  responding to requests for information or due diligence inquiries, or making management available
  for such purposes, to Persons in connection with any Alternative Transaction and (iii) furnishing
  any information with respect to, or assist or participate in, or facilitate in any other manner, any
  effort or attempt by any Person to do or seek to do any of the foregoing. Notwithstanding any other
  provision of this Agreement to the contrary, the Purchaser acknowledges and agrees that the Sellers
  and their respective Affiliates may enter into a definitive agreement providing for an Alternative
  Transaction.

                 (g)    The Sellers shall promptly serve true and correct copies of the motion
  seeking entry of the Sale Order and all related pleadings in accordance with the Bid Procedures
  Order, the Bankruptcy Code, the Bankruptcy Rules and any other applicable Order of the
  Bankruptcy Court.

                  (h)     The Purchaser shall promptly take all actions as are reasonably requested
  by the Sellers to assist in obtaining the Bankruptcy Court’s entry of the Sale Order and any other
  Order reasonably necessary in connection with the transactions contemplated by this Agreement
  as promptly as practicable, including furnishing affidavits, financial information or other
  documents or information for filing with the Bankruptcy Court and making such employees and
  Advisors of the Purchaser and its Affiliates available to testify before the Bankruptcy Court for
  the purposes of, among other things providing necessary assurances of performance by Purchaser
  under this Agreement and demonstrating that the Purchaser is a “good faith” purchaser under
  section 363(m) of the Bankruptcy Code, as well as demonstrating the Purchaser’s ability to pay
  and perform or otherwise satisfy any Assumed Liabilities following the Closing.

          4.2     Cure Costs. Subject to entry of the Sale Order, the Purchaser shall, on or prior to
  the Closing (or, in the case of any Contract that is to be assigned following the Closing pursuant
  to Section 1.5, on or prior to the date of such assignment), pay the Cure Costs and cure any and all
  other defaults and breaches under the Assigned Contracts so that such Contracts may be assumed
  by the applicable Sellers and assigned to the Purchaser in accordance with the provisions of section
  365 of the Bankruptcy Code and this Agreement.

          4.3    Bankruptcy Court Filings. The Sellers shall use reasonable best efforts to obtain
  entry of the Bid Procedures Order and the Sale Order. The Bid Procedures Order shall, among
  other things, approve the Break-Up Fee. The Sale Order shall, among other things, (a) approve
  and direct, pursuant to sections 105, 363, and 365 of the Bankruptcy Code, (i) the execution,
  delivery and performance by Sellers of this Agreement, (ii) the sale of the Acquired Assets to
  Purchaser on the terms set forth herein and free and clear of all Encumbrances (other than
  Permitted Encumbrances), and (iii) the performance by the Sellers of its obligations under this
  Agreement; (b) authorize, empower and direct the Sellers to assume and assign to the Purchaser

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  the Assigned Contracts; (c) find that the Purchaser is a “good faith” buyer within the meaning of
  section 363(m) of the Bankruptcy Code, find that the Purchaser is not a successor to the Sellers,
  and grant the Purchaser the protections of section 363(m) of the Bankruptcy Code; (d) find that
  the Purchaser shall have no Liability or responsibility for any Liability or other obligation of the
  Sellers arising under or related to the Acquired Assets other than as expressly set forth in this
  Agreement, including successor or vicarious Liabilities of any kind or character, including any
  theory of antitrust, successor, or transferee Liability, labor law, de facto merger, or substantial
  continuity; (e) find that the Purchaser has provided adequate assurance (and as that term is used in
  section 365 of the Bankruptcy Code) of future performance in connection with the assumption of
  the Assigned Contracts; (f) find that the Purchaser shall have no Liability for any Excluded
  Liability; and (g) find that there was no violation of section 363(n) of the Bankruptcy Code. The
  Purchaser agrees that it will promptly take such actions as are reasonably requested by the Sellers
  to assist in obtaining Bankruptcy Court approval of the Sale Order, including furnishing affidavits
  or other documents or information for filing with the Bankruptcy Court for purposes, among
  others, of (x) demonstrating that the Purchaser is a “good faith” purchaser under section 363(m)
  of the Bankruptcy Code and (y) establishing adequate assurance of future performance within the
  meaning of section 365 of the Bankruptcy Code. At Closing, the Purchaser shall pay $3,000,000
  of the Purchase Price directly to Avnet, Inc. in full satisfaction of the Avnet Secured Claim.

          4.4    Approval. The Sellers’ obligations under this Agreement and in connection with
  the transactions contemplated hereby are subject to entry of and, to the extent entered, the terms
  of any Orders of the Bankruptcy Court (including entry of the Bid Procedures Order and the Sale
  Order). Nothing in this Agreement shall require the Sellers or their respective Affiliates to give
  testimony to or submit a motion to the Bankruptcy Court that is untruthful or to violate any duty
  of candor or other fiduciary duty to the Bankruptcy Court or its stakeholders.

                                       ARTICLE 5
                                COVENANTS AND AGREEMENTS

           5.1      Conduct of Business of the Sellers

                  (a)     Until the earlier of the termination of this Agreement pursuant to Article 7
  and the Closing, except (w) for any limitations on operations imposed by the Bankruptcy Court or
  the Bankruptcy Code, (x) as required by applicable Law, Order or a Governmental Body, (y) as
  required or restricted by the terms of the DIP Loan Agreement, or (z) with the prior written consent
  of the Purchaser, the Sellers shall (i) conduct the Acquired Business only in the Ordinary Course
  and in all material respects in compliance with all applicable Laws, (ii) use reasonable best efforts
  to maintain the Acquired Business and the Acquired Assets in good working order (normal wear
  and tear excepted), (iii) use reasonable best efforts to keep available the services of their respective
  Business Employees subject to the Sellers’ right to make sound business terminations, and (iv) use
  reasonable best efforts to maintain satisfactory relationships with licensors, licensees, suppliers,
  contractors, distributors, consultants, customers, vendors and others having business relationships
  with the Sellers in connection with the operation of the Acquired Business.

                 (b)    Until the earlier of the termination of this Agreement pursuant to Article 7
  and the Closing, except (w) for any limitations on operations imposed by the Bankruptcy Court or
  the Bankruptcy Code, (x) as required by applicable Law, Order or a Governmental Body, (y) as

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  required or restricted by the terms of the DIP Loan Agreement, or (z) with the prior written consent
  of the Purchaser, the Sellers shall not:

                         (i)    issue any notes, bonds or other debt securities, or otherwise incur
  any indebtedness for borrowed money or otherwise become liable for any such indebtedness of
  any other Person, in each case, other than Excluded Liabilities;

                       (ii)    terminate (other than by expiration), amend or modify (other than
  by automatic extension or renewal) in any material respect the terms of any Assigned Contract;
  provided, however, that the Sellers may terminate, amend or modify purchase orders in the
  Ordinary Course;

                       (iii) settle or compromise any pending or threatened Action if such
  settlement or compromise would create Liabilities that are not Excluded Liabilities;

                          (iv)    acquire any material assets that would become Acquired Assets or
  sell, assign, license, transfer, convey, lease, surrender, relinquish or otherwise dispose of any
  Acquired Assets, other than (A) sales in the Ordinary Course, (B) licenses of Intellectual Property
  granted on a non-exclusive basis, or (C) pursuant to existing Contracts;

                        (v)   subject any portion of the Acquired Assets to any Encumbrance,
  except for Permitted Encumbrances;

                        (vi)   (A) increase wages or salary of any employee except in the Ordinary
  Course consistent with cost of living increases, (B) grant any bonuses to any employee except in
  the Ordinary Course pursuant to the Seller Plans or other applicable Contracts, or (C) increase
  other compensation or material benefits of any employee;

                          (vii)    hire any new employee;

                          (viii)   establish, enter into, terminate, adopt or amend any Seller Plan;

                     (ix)   fail to maintain any insurance policy in effect on the date hereof or
  amend any such policy (other than extensions, replacements or amendments thereof in the
  Ordinary Course);

                          (x)      amend the DIP Loan Agreement in any material respect;

                         (xi)    make, change or rescind any Tax election, amend any Tax Return,
  omit to take any action, enter into any settlement or compromise of any claim, notice, audit report
  or assessment in respect of any Taxes, adopt or change any method of Tax accounting, enter into
  any Tax allocation, sharing or closing agreement, surrender any right to claim a Tax refund,
  consent to any extension or waiver of the statute of limitations applicable to any Tax claim or
  assessment, or enter into any other transaction that would have the effect of increasing the Tax
  liability or reducing any Tax asset of Purchaser in respect of any Tax period ending after the
  Closing Date;

                          (xi!)    make any expenditure except in accordance with the DIP Budget; or

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                         (xiii) authorize any of, or commit or agree, in writing or otherwise, to take
  any of, the foregoing actions.

                  (c)    Notwithstanding anything to the contrary herein, the Purchaser
  acknowledges and agrees that the Sellers intend to liquidate and sell the Excluded Assets, and that
  the Sellers shall be permitted to take, or appoint a third party to take, all reasonable actions in
  connection therewith, including entering into liquidation agreements and other Contracts, selling
  Excluded Assets at discounted prices, and using Sellers’ Intellectual Property to advertise such
  sales and liquidation.

                  (d)    Notwithstanding anything to the contrary herein, the Parties acknowledge
  and agree that the Sellers may determine their need to take measures or will sustain impacts on
  their respective business as a result of COVED-19, and nothing herein shall prevent the Sellers
  from taking all commercially reasonable measures in good faith in order to preserve their
  respective business, operations, assets, Liabilities, prospects or any portion thereof as a result
  thereof, nor shall any such impact sustained by the Acquired Business be deemed as a breach of
  this Agreement.

                  (e)     Nothing contained in this Agreement is intended to give the Purchaser or its
  Affiliates, directly or indirectly, the right to control or direct the Acquired Business prior to the
  Closing in violation of applicable Laws.

          5.2     Access to Information. Until the earlier of the termination of this Agreement
  pursuant to Article 7 and the Closing, the Sellers (in its sole discretion) will provide the Purchaser
  and its professional advisors with reasonable access, upon reasonable advance notice and during
  regular business hours, to the books and records of the Sellers and their respective Affiliates, in
  order for the Purchaser and its professional advisors to access such information regarding the
  Sellers and their respective Affiliates as the Purchaser reasonably deems necessary in connection
  with effectuating the transactions contemplated by this Agreement; provided that (i) such access
  does not unreasonably interfere with the normal operations of the Seller ,-(ii) such access will occur
  in such a manner as the Sellers reasonably determines to be appropriate to protect the
  confidentiality of the transactions contemplated by this Agreement, and (iii) nothing herein will
  require the Sellers to provide access to, or to disclose any information to, the Purchaser if such
  access or disclosure (A) would waive any legal privilege or (B) would be in violation of applicable
  Laws; provided that, in the event that the Sellers withhold access or information in reliance on the
  foregoing clause (A) or (B), the Sellers shall provide (to the extent possible without waiving or
  violating the applicable legal privilege or Law) notice to the Purchaser that such access or
  information is being so withheld and shall use commercially reasonable efforts to provide such
  access or information in a way that would not risk waiver of such legal privilege or applicable
  Law.

           5.3       Employee Matters.

                 (a)    The Purchaser shall extend to substantially all employees of the Sellers that
  are engaged in the operation of the Acquired Business (the “Business Employees") an offer of
  employment in a position that is comparable to such Business Employee’s position immediately
  prior to the Closing (including level of responsibility, primary location of employment, and
  authority) on the terms set forth in this Section 5.3 (^Transfer Offer") that, if accepted, shall
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  become effective upon the Closing. Business Employees who accept such Transfer Offers and
  begin employment with the Purchaser in accordance with this Section 5.3(a) as of the Closing shall
  be referred to herein as “Transferred Employees.'''’ Nothing herein shall be construed as a
  representation or guarantee by the Sellers or any of their respective Affiliates that any or all of the
  Business Employees will accept the offer of employment from the Purchaser or will continue in
  employment with the Purchaser following the Closing. The Purchaser shall use reasonable best
  efforts under applicable Law to effect the transfer of employment to the Purchaser or its Affiliates
  of each such Transferred Employee who has accepted that offer. Effective as of the Closing, each
  Transferred Employee shall cease to be an employee of the Sellers or any of their respective
  Affiliates.

                 (b)    On the Closing Date, the Purchaser shall provide each Transferred
  Employee with a base salary or base wage rate and commission rate that is no lower than that
  provided to such Transferred Employee as of the date hereof.

                  (c)     The Sellers shall bear all the Liabilities and costs relating to, and shall
  indemnify and hold harmless the Purchaser and its Affiliates from and against, any claims made
  by any Business Employees for any severance or other separation payments or benefits arising out
  of the termination of the employment by any Seller.

                  (d)     The provisions of this Section 5.3 are for the sole benefit of the Parties to
  this Agreement and nothing herein, express or implied, is intended or shall be construed to confer
  upon or give any Person (including for the avoidance of doubt any Business Employees or
  Transferred Employees), other than the Parties and their respective permitted successors and
  assigns, any legal or equitable or other rights or remedies (with respect to the matters provided for
  in this Section 5.3 or under or by reason of any provision of this Agreement). Nothing contained
  herein, express or implied shall be construed to establish, amend, or modify any benefit plan,
  program, agreement or arrangement.

           5.4      Reasonable Efforts; Cooperation.

                  (a)     Subject to the other terms of this Agreement, each Party shall, and shall
  cause its professional advisors to, use its reasonable best efforts to perform its obligations
  hereunder and to take, or cause to be taken, and do, or cause to be done, all things necessary,
  proper, advisable or permitted under applicable Law to cause the transactions contemplated hereby
  to be effected as soon as practicable, but in any event on or prior to the Outside Date, in accordance
  with the terms hereof and to cooperate with each other Party and its professional advisors in
  connection with any step required to be taken as a part of its obligations hereunder.

                  (b)    The obligations of the Sellers pursuant to this Agreement, including this
  Section 5.4, shall be subject to any Orders entered, or approvals or authorizations granted or
  required, by or under the Bankruptcy Court or the Bankruptcy Code (including in connection with
  the Bankruptcy Case), and each of Sellers’ obligations as a debtor-in-possession to comply with
  any Order of the Bankruptcy Court (including the Bid Procedures Order and the Sale Order) and
  Sellers’ duty to seek and obtain the highest or otherwise best price for the Acquired Assets as
  required by the Bankruptcy Code.



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          5.5     Further Assurances. From time to time, as and when requested by any Party and
  at such requesting Party’s expense, any other Party will execute and deliver, or cause to be
  executed and delivered, all such documents and instruments and will take, or cause to be taken, all
  such further or other actions as such requesting Party may reasonably deem necessary or desirable
  to evidence and effectuate the transactions contemplated by this Agreement.

          5.6     Receipt of Misdirected Assets. From and after the Closing, if the Sellers or any of
  their respective Affiliates receives any right, property or asset that is an Acquired Asset, the Seller
  shall promptly transfer or cause such of its Affiliates to transfer such right, property or asset (and
  shall promptly endorse and deliver any such asset that is received in the form of cash, checks or
  other documents) to the Purchaser, and such asset will be deemed the property of the Purchaser
  held in trust by the Sellers for the Purchaser until so transferred. From and after the Closing, if the
  Purchaser or any of its Affiliates receives any right, property or asset that is an Excluded Asset,
  the Purchaser shall promptly transfer or cause such of its Affiliates to transfer such asset (and shall
  promptly endorse and deliver any such right, property or asset that is received in the form of cash,
  checks, or other documents) to the Sellers, and such right, property or asset will be deemed the
  property of the Sellers held in trust by the Purchaser for the Sellers until so transferred.

          5.7       Confidentiality. Following the completion of the Auction, the Sellers agree to
  maintain, unless disclosure is required by applicable Law, the confidentiality of any confidential
  information regarding the Acquired Business which is in such Seller’s possession or of which such
  Seller is aware. Each Seller hereby further agrees, unless disclosure is required by applicable
  Law, to use reasonable best efforts to safeguard such confidential information and to protect it
  against disclosure, misuse, loss and theft. In furtherance and not in limitation of the foregoing,
  such Seller shall not, unless required by applicable Law, disclose to any Person (a) any confidential
  information regarding the Acquired Business, provided that confidential information shall not
  include information that becomes generally available to the public other than as a result of the
  breach of this Section 5.7 or information not otherwise known by such Seller that becomes
  available to such Seller from a Person other than the Purchaser not subject to an obligation of
  confidentiality to the Purchaser or the Acquired Business, or (b) any of the discussions or
  negotiations conducted with the Purchaser in connection with this Agreement, provided that such
  Seller shall be entitled to disclose (i) any infomation required to be disclosed by such Seller to the
  Bankruptcy Court, parties in interest in the Bankruptcy Case, or other Persons bidding on assets
  of the Seller, (ii) any information required to be disclosed by such Seller pursuant to any applicable
  Law (including, without limitation, the Bankruptcy Code), legal proceeding or Governmental
  Body, or (iii) any information to such Seller’s professional advisors on a need-to-know basis;
  provided that, in each case, such disclosure shall be limited to the information that is so required
  to be disclosed and the Person(s) to whom such disclosure is required.

          5.8    Casualty Loss. Notwithstanding any provision of this Agreement to the contrary,
  if, before the Closing, all or any portion of the Acquired Assets is (a) condemned or taken by
  eminent domain, or (b) is damaged or destroyed by fire, flood or other casualty, the Sellers shall
  notify the Purchaser promptly in writing of such fact, and (i) in the case of condemnation or taking,
  the Sellers shall assign or pay, as the case may be, any proceeds thereof to the Purchaser at the
  Closing, and (ii) in the case of fire, flood or other casualty, the Seller shall assign the insurance
  proceeds therefrom to the Purchaser at the Closing.


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          5.9     Change of Name. Promptly following the Closing, the Sellers shall discontinue
  the use of its current name (and any other trade names or “d/b/a” names currently utilized by the
  Sellers) and shall not subsequently change its name to or otherwise use or employ any name which
  includes the word “Squirrels” or “Midwest Data Company” without the prior written consent of
  the Purchaser, and the Sellers shall cause the name of the Sellers in the caption of the Bankruptcy
  Case to be changed.

           5.10     Notification of Certain Matters.

                  (a)     The Sellers shall give to the Purchaser, and the Purchaser shall give to the
  Sellers, copies of notices or other communications received by the Sellers or the Purchaser or by
  any of their respective Affiliates (as the case may be), from any third party and/or any
  Governmental Body with respect to the transactions contemplated by this Agreement that are not
  filed with the Bankruptcy Court.

                 (b)     Each Party shall promptly advise the other in writing of any matter hereafter
  arising or events or conditions arising prior to Closing, which, if existing or known at the date
  hereof and not set forth on the Schedules, would have constituted a breach of or inaccuracy in a
  representation made by such Party such that the conditions under Article 6, as the case may be,
  would not be satisfied

          5.11 Insurance Claims. In the event that, notwithstanding Section 1.1(1), some or all
  of the Insurance Claims are not transferred and assigned to Purchaser, Sellers shall take, and shall
  cause their representatives, affiliates, and agents to take, all actions reasonably requested by
  Purchaser in connection with the liquidation, realization, investigation, and prosecution of all of
  such Insurance Claims. Upon receipt of any proceeds arising from such Insurance Claims, Sellers
  shall immediately transfer the full amount of such proceeds to the Purchaser.

                                          ARTICLE 6
                                    CONDITIONS TO CLOSING

          6.1    Conditions Precedent to the Obligations of the Purchaser and the Sellers. The
  respective obligations of each Party to this Agreement to consummate the transactions
  contemplated by this Agreement are subject to the satisfaction (or to the extent permitted by Law,
  written waiver) on or prior to the Closing Date, of each of the following conditions:

                  (a)    no court or other Governmental Body has issued, enacted, entered,
  promulgated or enforced any Law or Order (that has not been vacated, withdrawn or overturned)
  restraining, enjoining or otherwise prohibiting the transactions contemplated by this Agreement;
  and

                (b)    the Bankruptcy Court shall have entered the Bid Procedures Order and the
  Sale Order and such orders shall not have been reversed, modified, amended or stayed.

          6.2     Conditions Precedent to the Obligations of the Purchaser. The obligations of
  the Purchaser to consummate the transactions contemplated by this Agreement are subject to the
  satisfaction (or to the extent permitted by Law, written waiver by the Purchaser in its sole
  discretion), on or prior to the Closing Date, of each of the following conditions:

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                     (a)     the Sellers shall have delivered to the Purchaser a certified copy of the Sale
  Order;

                  (b)     each of the representations and warranties made by the Sellers in Article 2
  (other than Sections 2.1, 2.2, 2.4(a)-(d) and 2.14) shall be true and correct as of the Closing Date
  (disregarding all qualifications or limitations as to “materiality” or “Material Adverse Effect” and
  words of similar import set forth therein), as though such representations and warranties had been
  made on and as of the Closing Date (except that representations and warranties that are made as
  of a specified date need be true and correct only as of such date), except where the failure of such
  representations and warranties to be true and correct has not had, and would not, individually or
  in the aggregate, reasonably be expected to have, individually or in the aggregate, a Material
  Adverse Effect and (ii) the representations and warranties set forth in Sections 2.1, 2.2, 2,4(d)-(d)
  and (f) and 2.14 shall be true and correct in all respects as of the Closing Date (disregarding all
  qualifications or limitations as to “materiality” or “Material Adverse Effect” and words of similar
  import set forth therein), as though such representations and warranties had been made on and as
  of the Closing Date (except that representations and warranties that are made as of a specified date
  need be true and correct only as of such date);

                  (c)     the Sellers shall have performed or caused to be performed, in all material
  respects, all of the obligations and covenants required by this Agreement to be performed by the
  Sellers on or prior to the Closing;

                  (d)      the Sellers shall have delivered, or caused to be delivered, to the Purchaser
  all of the items set forth in Section 1.8;

                 (e)     each Consent set forth on Schedule 6.2(e) shall have been obtained without
  any change in the terms and conditions of any Permit or Contract to which such Consent relates
  from those in effect on the date hereof that is materially adverse to the Purchaser or the Acquired
  Business; and

                (f)        since the date of this Agreement, there shall not have been a Material
  Adverse Effect.

          6.3    Conditions Precedent to the Obligations of the Sellers. The obligations of the
  Sellers to consummate the transactions contemplated by this Agreement are subject to the
  satisfaction (or to the extent permitted by Law, written waiver by the Sellers in their sole
  discretion), on or prior to the Closing Date, of each of the following conditions:

                   (a)    each of the representations and warranties made by the Purchaser in Article
  3 shall be true and correct in all material respects (without giving effect to any materiality or similar
  qualification contained therein), in each case as of the date hereof and as of the Closing Date, with
  the same force and effect as though all such representations and warranties had been made as of
  the Closing Date (other than representations and warranties that by their terms address matters
  only as of another specified date, which shall be so true and correct only as of such other specified
  date);




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                 (b)      the Purchaser shall have performed or caused to be performed, in all
  material respects, all of the obligations and covenants required by this Agreement to be performed
  by Purchaser by the Closing; and

                  (c)     the Purchaser shall have delivered, or caused to be delivered, to Sellers all
  of the items set forth in Section 1.9.

          6.4    Waiver of Conditions. None of the Purchaser or the Sellers may rely on the failure
  of any condition set forth in this Article 6 to be satisfied if such failure was caused by such Party’s
  failure to use, as required by this Agreement, its reasonable best efforts to consummate the
  transactions contemplated hereby.

                                             ARTICLE 7
                                           TERMINATION

         7.1    Termination of Agreement. This Agreement may be terminated only in
  accordance with this Section 7.1. This Agreement may be terminated at any time prior to the
  Closing:

                    (a)   by the mutual written consent of the Sellers and the Purchaser;

                 00       the issuance by any other Governmental Body of an Order restraining,
  enjoining, or otherwise prohibiting the consummation of the transactions contemplated by this
  Agreement or declaring unlawful the transactions contemplated by this Agreement, and such Order
  having become final, binding and non-appealable; provided that no termination may be made by a
  Party under this Section 7.1(b) if the issuance of such Order was caused by the breach or action or
  inaction of such Party;

                   (c)    by written notice of the Purchaser or the Sellers to the other Party, if the
  Closing shall not have occurred on or before February 28, 2022 (the “Outside Date1')-, provided
  that a Party shall not be permitted to terminate this Agreement pursuant to this Section 7.1(c) if
  the failure of the Closing to have occurred by the Outside Date was caused by the breach or action
  or inaction of such Party;

                  (d)     by written notice of the Purchaser or the Sellers to the other Party, if the
  Bankruptcy Case is dismissed or converted to a case or cases under Chapter 7 of the Bankruptcy
  Code, or if a trustee or examiner with expanded powers to operate or manage the financial affairs
  or reorganization of any Sellers is appointed in the Bankruptcy Case;

                  (e)     by written notice from the Sellers to the Purchaser, upon a breach of any
  covenant or agreement on the part of the Purchaser, or if any representation or warranty of the
  Purchaser will have become untrue, in each case, such that the conditions set forth in Section 6.3(a)
  or 6.3(b) would not be satisfied; provided that (i) if such breach is curable by the Purchaser then
  the Sellers may not tenninate this Agreement under this Section 7.1(e) unless such breach has not
  been cured by the date which is the earlier of (A) two (2) Business Days prior to the Outside Date
  and (B) thirty (30) days after the Sellers notify the Purchaser of such breach and (ii) the right to
  terminate this Agreement pursuant to this Section 7.1(e) will not be available to the Sellers at any
  time that the Sellers are in material breach of any covenant, representation or warranty hereunder;

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                  (f)      by written notice from the Purchaser to the Sellers, upon a breach of any
  covenant or agreement on the part of the Sellers, or if any representation or warranty of the Sellers
  will have become untrue, in each case, such that the conditions set forth in Section 6.2(b) or 6.2(c)
  would not be satisfied; provided that (i) if such breach is curable by the Seller then the Purchaser
  may not terminate this Agreement under this Section 7.1(f) unless such breach has not been cured
  by the date which is the earlier of (A) two (2) Business Days prior to the Outside Date and (B)
  thirty (30) days after the Purchaser notifies the Sellers of such breach and (ii) the right to terminate
  this Agreement pursuant to this Section 7.1(f) will not be available to the Purchaser at any time
  that the Purchaser is in material breach of any covenant, representation or warranty hereunder;

                 (g)     by written notice from the Purchaser to the Sellers, if (i) the DIP Financing
  Motion, the Bid Procedures Motion and the Sale Motion shall not have been filed by December 1,
  2021, (ii) the Bid Procedures Order shall not have been entered by the Bankruptcy Court by
  December 15, 2021, (iii) the Bankruptcy Court issues an order granting leave to any Person to
  commence an appeal of the Bid Procedures Order, (iv) following its entry, the Bid Procedures
  Order shall fail to be in full force and effect or shall have been stayed, reversed, modified or
  amended in any respect or (v) the Sellers have failed to comply with the Bid Procedures Order;

                (h)       by written notice from the Purchaser to the Sellers, if (i) the Sale Order shall
  not have been entered by the Bankruptcy Court by January 25, 2022, (ii) following its entry, the
  Sale Order shall fail to be in full force and effect or shall have been stayed, reversed, modified or
  amended in any respect or (iii) the Sellers have failed to comply with the Sale Order;

                  (i)     by written notice from the Purchaser to the Sellers, if (i) the DIP Interim
  Order shall not have been entered by the Bankruptcy Court by December 7, 2021, (ii) the DIP
  Final Order shall not have been entered by the Bankruptcy Court by December 23, 2021, (iii)
  following its entry, either DIP Interim Order or the DP Final Order shall fail to be in full force
  and effect or shall have been stayed, reversed, modified or amended in any respect or (iv) the
  Sellers are in default under the DP Loan Agreement;

                  (j)     by written notice from the Sellers to the Purchaser, if the Sellers or the board
  of directors (or similar governing body) of the Seller, based upon the written advice of the Sellers’
  outside legal counsel, determines that proceeding with the transactions contemplated by this
  Agreement or failing to terminate this Agreement would be inconsistent with its or such Seller’s
  or governing body’s fiduciary duties; or

                 (k)    by written notice from the Sellers to the Purchaser, if (i) the Sellers enter
  into one or more Alternative Transactions with one or more Persons other than the Purchaser or
  (ii) the Bankruptcy Court approves an Alternative Transaction other than with the Purchaser, in
  each case, and such Alternative Transaction is consummated.

         7.2      Effect of Termination. In the event of termination of this Agreement pursuant to
  Section 7.1, this Agreement shall forthwith become void and there shall be no liability on the part
  of any Party, except that the Sellers shall return to the Purchaser the Deposit; provided that this
  Section 7.2, Section 7.3 and Article 9 shall survive any such termination.

           7.3      Termination Fee.


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                  (a)     In the event that this Agreement is terminated by the Sellers pursuant to
  Section 7.1(j) or Section 7.1(k), then the Sellers shall pay to the Purchaser an amount in cash equal
  to the sum of (a) 3.0% of the Purchase Price plus (b) all of the Purchaser’s documented out-of-
  pocket costs and expenses (including legal fees) incurred in connection with the transactions
  contemplated by this Agreement, up to a maximum amount of $200,000 (collectively, the “Break-
  Up Fee")', provided, however, that in the event the Sellers have insufficient funds at the time of
  the termination of this Agreement pursuant to Section 7.1(j) or Section 7.1(k) to pay both the full
  amount of the Break-Up Fee and the full amount of the Avent Secured Claim then the Purchaser
  shall have a secured claim (junior only to the Avnet Secured Claim) with respect to the unpaid
  portion of the Break-Up Fee. Any payment of the Break-Up Fee pursuant to the first sentence of
  this Section 7.3(a) in connection with the consummation of an Alternative Transaction or the
  consummation of any other transaction in which the Avnet Secured Claim has been or will be
  repaid in full shall be a super-priority administrative expense claim senior to all other
  administrative expense claims under section 364(c)(1) of the Bankruptcy Code. In the event that
  this Agreement is terminated pursuant to Section 7.1(k), any payments of the Break-Up Fee shall
  be payable from, and shall at the time of closing be paid out of, the proceeds of the closing of the
  applicable Alternative Transaction.

                  (b)    Each of the Sellers and the Purchaser acknowledges and agrees that: (i) the
  agreements contained in this Section 7.3 are an integral part of the transactions contemplated by
  this Agreement; (ii) the Break-Up Fee is not a penalty, but is liquidated damages, in a reasonable
  amount that will compensate the Purchaser in the circumstances in which such amount is payable,
  for the efforts and resources expended and opportunities foregone while negotiating this
  Agreement and in reliance on this Agreement and on the expectation of the consummation of the
  transactions contemplated hereby, which amount would otherwise be impossible to calculate with
  precision; and (iii) without these agreements, neither the Sellers nor the Purchaser would have
  entered into this Agreement.

                  (c)     As collateral security for the prompt and complete payment when due
  (whether at stated maturity, by acceleration or otherwise) of the Break-Up Fee pursuant to the
  terms of Section 7.3(a) (the “Secured Obligations"), the Sellers hereby mortgage, pledge and
  hypothecate to the Purchaser, and grants to the Purchaser an Encumbrance on and security interest
  in, all of such Seller’s right, title and interest in, to and under all of the assets and properties of
  such Seller (collectively, “Collaterar); provided, however, that the Encumbrance and security
  interest granted pursuant to this Section 7.3(c) shall in all events be junior to the liens and security
  interests securing the Avnet Secured Claim. The security interest granted pursuant to this Section
  7.3(c) constitutes a valid and continuing perfected security interest in favor of the Purchaser in all
  Collateral. The Sellers hereby authorize the Purchaser to file one or more UCC-1 financing
  statements in the appropriate filing office to reflect the security interest granted pursuant to this
  Section 7.3(c).

                                              ARTICLE 8
                                               TAXES

         8.1   Transfer Taxes. Any sales, use, purchase, transfer, franchise, deed, fixed asset,
  stamp, documentary stamp, use, or other Taxes and recording charges payable by reason of the
  sale of the Acquired Assets and the Acquired Business or the assumption of the Assumed

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  Liabilities under this Agreement or the transactions contemplated hereby (the “Transfer Taxes”)
  shall be borne 50% by the Sellers and 50% by the Purchaser, and the Purchaser shall timely file
  all Tax Returns related to any Transfer Taxes. The Sellers and the Purchaser shall use
  commercially reasonable efforts and cooperate in good faith to exempt all such transactions from
  any Transfer Taxes.

           8.2    Allocation of Purchase Price. For U.S. federal and applicable state and local
  income Tax purposes, the Purchaser, the Sellers, and their respective Affiliates shall allocate the
  Purchase Price (and any Assumed Liabilities or other items treated as part of the purchase price
  for applicable income Tax purposes) among the Acquired Assets in accordance with Section 1060
  of the Code and the Treasury Regulations promulgated thereunder (the “Allocation
  Methodology”). As soon as commercially practicable, the Purchaser shall provide a proposed
  allocation to the Sellers setting forth the allocation of the Purchase Price (and other amounts treated
  as Purchase Price for U.S. federal income Tax purposes) among the Acquired Assets in accordance
  with the Allocation Methodology (the “Allocation”). If the Sellers deliver a written objection
  within thirty (30) days after receipt of the draft Allocation proposed by the Purchaser, then the
  Purchaser and the Sellers shall negotiate in good faith to resolve any such objection. Any
  resolution by the Sellers and the Purchaser shall be conclusive and binding on the Parties once set
  forth in writing (any such conclusive and binding Allocation, the “Final Purchase Price
  Allocation”). If the Sellers and the Purchaser cannot resolve such dispute within thirty (30) days
  of the Purchaser’s receipt of the Sellers’ objection, the Final Purchase Price Allocation shall be
  determined pursuant to Section 9.13. The Parties and their respective Affiliates shall file all Tax
  Returns in accordance with the Allocation Methodology and the Final Purchase Price Allocation
  (if any). None of the Parties shall take any Tax related action inconsistent with the Final Purchase
  Price Allocation (if any) unless otherwise required by a “determination” within the meaning of
  Section 1313(a) of the Code.

          8.3    Cooperation. The Purchaser and the Sellers shall reasonably cooperate, as and to
  the extent reasonably requested by the other Party, in connection with the filing of Tax Returns
  and any Action, audit, litigation, or other proceeding with respect to Taxes.

           8.4       Preparation of Tax Returns and Payment of Taxes.

                   (a)     Except as otherwise provided by Section 8.1, the Sellers shall prepare and
  timely file (i) all Tax Returns with respect to the Acquired Assets for any Tax period ending on or
  before the Closing Date other than with respect to any Assumed Tax and (ii) all income Tax
  Returns of the Sellers for all Tax Periods. Except to the extent any Tax reflected on a return
  required to be prepared and filed by the Sellers pursuant to this Section 8.4 is constitutes an
  Assumed Liability, the Sellers shall be responsible for paying any Taxes due with respect to Tax
  Returns that the Sellers are obligated to prepare and file under this Section 8.4(a).

                   (b)    The Purchaser shall prepare and timely file all other Tax Returns with
  respect to the Acquired Assets that are not addressed by Section 8.4(a). With respect to any
  Straddle Period, the Purchaser shall prepare such Tax Returns consistent with past practice of the
  Sellers, and shall provide the Sellers with a draft of such Tax Returns at least thirty (30) days prior
  to the filing of any such Tax Return. Purchaser shall incorporate any changes reasonably requested
  by the Sellers with respect to such Tax Returns; provided that such changes are consistent with

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  past practice of the Sellers and applicable Law. The Purchaser shall be responsible for paying any
  Assumed Tax reflected on any Tax Return that the Purchaser is obligated to prepare and file under
  this Section 8.4(b).

                                             ARTICLE 9
                                          MISCELLANEOUS

          9.1     Non-Survival of Representations and Warranties and Certain Covenants;
  Certain Waivers. Each of the representations and warranties and the covenants and agreements
  (to the extent such covenant or agreement contemplates or requires performance by such Party
  prior to the Closing) of the Parties set forth in this Agreement or in any other document
  contemplated hereby, or in any certificate delivered hereunder or thereunder, will terminate
  immediately as of the Closing such that no claim for breach of any such representation, warranty,
  covenant or agreement, detrimental reliance or other right or remedy (whether in Contract, in tort
  or at law or in equity) may be brought with respect thereto after the Closing. Each covenant and
  agreement that explicitly contemplates performance after the Closing, will, in each case and to
  such extent, expressly survive the Closing in accordance with its terms, and nothing in this Section
  9.1 will be deemed to limit any rights or remedies of any Person for breach of any such surviving
  covenant or agreement. The Purchaser and the Sellers acknowledge and agree, on their own behalf
  and on behalf of their respective Affiliates, as the case may be, that the agreements contained in
  this Section 9.1 (a) require performance after the Closing to the maximum extent permitted by
  applicable Law and will survive the Closing, and (b) are an integral part of the transactions
  contemplated hereby and that, without the agreements set forth in this Section 9.1, none of the
  Parties would enter into this Agreement.

           9.2    Indemnity; Expenses. Whether or not the Closing takes place, the Sellers shall
  indemnify, and hold harmless, the Purchaser and its Affiliates and their respective representatives
  and agents from all Liability (including reasonable expenses of counsel) arising from any Action
  instituted in the Bankruptcy Case in connection with the transactions contemplated hereby.
  Whether or not the Closing takes place, except as otherwise provided herein (including, for the
  avoidance of doubt, Section 7.3), all fees, costs and expenses (including fees, costs and expenses
  of professional advisors) incurred in connection with the negotiation of this Agreement and the
  other agreements contemplated hereby, the performance of this Agreement and the other
  agreements contemplated hereby and the consummation of the transactions contemplated hereby
  and thereby will be paid by the Party incurring such fees, costs and expenses; it being
  acknowledged and agreed that (a) all Transfer Taxes will be allocated pursuant to Section 8.1 and
  (b) all Cure Costs will be allocated pursuant to Section 1.3(b) and Section 4.2.

           9.3     Notices. All notices, requests, demands and other communications under this
  Agreement shall be in writing and shall be deemed to have been duly given or made as follows:
  (a) if sent by registered or certified mail in the United States return receipt requested, upon receipt;
  (b) if sent designated for overnight delivery by nationally recognized overnight air courier (such
  as Federal Express), one Business Day after delivery to such courier; (c) if otherwise actually
  personally delivered, when delivered; (d) if delivered by electronic mail before 5:00 p.m. (local
  time at the location of recipient) on a Business Day, when transmitted and receipt is confirmed;
  and (e) if delivered by electronic mail after 5:00 p.m. (local time at the location of recipient), when
  transmitted and receipt is confirmed, at 9:00 a.m. (local time at the location of recipient) on the

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  following Business Day, provided that such notices, requests, demands and other communications
  are delivered to the address set forth below, or to such other address as any party shall provide by
  like notice to the other parties to this Agreement:

                    Notices to Purchaser:

                    Instantiation LLC
                    434 Dorado Beach E
                    Dorado, Puerto Rico 00646
                    Attention:     Sam Cassatt
                    Email:         sam@aligned. capital

                    with a copy to (which shall not constitute notice for purposes of this Section 9.3):

                    Sheppard, Mullin, Richter & Hampton LLP
                    Four Embarcadero Center
                    17th Floor
                    San Francisco, California 94111
                    Attention:    Jason R. Schendel and Jeannie Kim
                    Email:        j schendel@sheppardmullin. com
                                  j eldm@sheppardmullin.com

                    Notices to Sellers:

                    Squirrels Research Labs, LLC
                    121 Wilbur Drive NE
                    North Canton, OH 44720
                    Attention:    David Stanfill, President
                    Email:        david@squirrelsresearch. com

                    and

                    The Midwest Data Company LLC
                    121 Wilbur Drive NE
                    North Canton, OH 44720
                    Attention:    David Stanfill, President
                    Email:        david@squirrelsresearch. com

                    with a copy to (which shall not constitute notice for purposes of this Section 9.3):

                    Brouse McDowell, a Legal Professional Association
                    388 S. Main Street, Suite 500
                    Akron, OH 44311
                    Attention:    Marc B. Merklin
                    Email:        MMerklin@brouse.com

           9.4      Remedies.


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                   (a)     Default by Purchaser. The parties agree that the Purchase Price has been
  determined not only by a consideration of the value of the property per se but also by a
  consideration of the value of the various covenants, conditions and warranties of this Agreement
  as they relate to the property. The consideration of such values, sometimes measurable in relation
  to known external standards and sometimes determined only by subjective business judgments of
  the parties, are all interrelated and affected by the Parties’ ultimate agreement upon the Purchase
  Price. The Parties have discussed and negotiated in good faith upon the question of the damages
  that would be suffered by Sellers in the event this Agreement terminates prior to the close of
  escrow due to a buyer material default. It shall be a material default by Purchaser under this
  Agreement (a “Purchaser’s Default’) if any of the Purchaser’s representations and warranties are
  materially untrue or the Purchaser shall fail to perform or comply with any of its covenants, acts
  and agreements contained in this agreement in any material respect when required to be performed
  hereunder and such failure shall continue for five (5) Business Days after Sellers give Purchaser
  written notice of such failure, except that if such failure relates to any material covenant or
  agreement to be performed at the Closing, there shall be no notice required or grace or cure period
  allowed. If a Purchaser’s Default occurs and provided no material default by a Seller has occurred
  that has not been cured, then such Seller shall have the right to terminate this Agreement
  immediately by giving written notice to the Purchaser, in which event, the Parties have endeavored
  to reasonably estimate such damages and they hereby agree that, by reason of the aforesaid
  considerations, (i) such damages are and will be impracticable or extremely difficult to fix, (ii)
  liquidated damages in the amount of any Deposits actually delivered by the Purchaser are and will
  be reasonable, (iii) in the event of such default, Sellers shall receive such Deposits as liquidated
  damages, and (iv) in consideration of the payment of such liquidated damages, Sellers shall be
  deemed to have waived all other claims for damages.

                  (b)    Default by Seller. If this transaction fails to close as a result of a Seller’s
  material default, which such Seller fails to cure within five (5) Business Days after receipt of
  written notice describing in reasonable detail the nature of such material default, then the
  Purchaser’s sole and exclusive remedy shall be to (i) terminate this Agreement by giving Sellers
  written notice of the Purchaser’s election to immediately terminate this Agreement and receive an
  administrative claim in the Bankruptcy Case pursuant to section 503(b) of the Bankruptcy Code
  in the amount of the Breakup Fee or (ii) assert and seek judgment against Seller for specific
  performance, and if such judgment is not obtained, then exercise such remedy under Section
  9.4(b)(i) hereof.

          9.5      Binding Effect; Assignment. This Agreement shall be binding upon the Purchaser
  and, subject to the terms of the Bid Procedures Order (with respect to the matters covered thereby)
  and the entry and terms of the Sale Order, the Sellers, and shall inure to the benefit of and be so
  binding on the Parties and their respective successors and permitted assigns, including any trustee
  or estate representative appointed in the Bankruptcy Case or any successor Chapter 7 case;
  provided that neither this Agreement nor any of the rights or obligations hereunder may be
  assigned or delegated without the prior written consent of the Purchaser and the Sellers, and any
  attempted assignment or delegation without such prior written consent shall be null and void;
  provided, however, upon prior written notice to the Sellers, the Purchaser shall have the right to
  assign its rights and/or delegate its obligations hereunder (a) to any Affiliates and (b) after Closing,
  to any subsequent purchaser of all or any portion of the equity interests or assets of the Purchaser
  or the Acquired Business.

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          9.6    Amendment and Waiver. Any provision of this Agreement or the Schedules or
  exhibits hereto may be (a) amended only in a writing signed by the Purchaser and the Sellers or
  (b) waived only in a writing executed by the Person against which enforcement of such waiver is
  sought. No waiver of any provision hereunder or any breach or default thereof will extend to or
  affect in any way any other provision or prior or subsequent breach or default.

          9.7    Third Party Beneficiaries. Except as otherwise expressly provided herein,
  nothing expressed or referred to in this Agreement will be construed to give any Person other than
  the Parties any legal or equitable right, remedy, or claim under or with respect to this Agreement
  or any provision of this Agreement.

          9.8     Severability. Whenever possible, each provision of this Agreement will be
  interpreted in such manner as to be effective and valid under applicable Law, but if any provision
  of this Agreement is held to be prohibited by or invalid under applicable Law in any jurisdiction,
  such provision will be ineffective only to the extent of such prohibition or invalidity in such
  jurisdiction, without invalidating the remainder of such provision or the remaining provisions of
  this Agreement or in any other jurisdiction.

         9.9    Construction. The language used in this Agreement will be deemed to be the
  language chosen by the Parties to express their mutual intent, and no rule of strict construction will
  be applied against any Person. The headings of the sections and paragraphs of this Agreement
  have been inserted for convenience of reference only and will in no way restrict or otherwise
  modify any of the terms or provisions hereof.

          9.10 Schedules. The Schedules have been arranged for purposes of convenience in
  separately numbered sections corresponding to the sections of this Agreement; however, each
  section of the Schedules will be deemed to incorporate by reference all information disclosed in
  any other section of the Schedules to the extent reasonably apparent. Capitalized terms used in
  the Schedules and not otherwise defined therein have the meanings given to them in this
  Agreement. The specification of any dollar amount or the inclusion of any item in the
  representations and warranties contained in this Agreement, the Schedules or the exhibits is not
  intended to imply that the amounts, or higher or lower amounts, or the items so included, or other
  items, are or are not required to be disclosed (including whether such amounts or items are required
  to be disclosed as material or threatened) or are within or outside of the Ordinary Course, and no
  Party will use the fact of the setting of the amounts or the fact of the inclusion of any item in this
  Agreement, the Schedules, any updated Schedules, or exhibits in any dispute or controversy
  between the Parties as to whether any obligation, item or matter not set forth or included in this
  Agreement, the Schedules or exhibits is or is not required to be disclosed (including whether the
  amount or items are required to be disclosed as material or threatened) or are within or outside of
  the Ordinary Course. In addition, matters reflected in the Schedules are not necessarily limited to
  matters required by this Agreement to be reflected in the Schedules. Such additional matters are
  set forth for informational purposes only and do not necessarily include other matters of a similar
  nature. No information set forth in the Schedules will be deemed to broaden in any way the scope
  of the Parties’ representations and warranties. Any description of any agreement, document,
  instrument, plan, arrangement or other item set forth on any Schedule is a summary only and is
  qualified in its entirety by the terms of such agreement, document, instrument, plan, arrangement,
  or item which terms will be deemed disclosed for all purposes of this Agreement. The information

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  contained in this Agreement, in the Schedules and exhibits is disclosed solely for purposes of this
  Agreement, and no information contained herein or therein will be deemed to be an admission by
  any Party to any third party of any matter whatsoever, including any violation of Law or breach of
  Contract.

          9.11 Complete Agreement. This Agreement, together with the Schedules and any other
  agreements expressly referred to herein or therein, contains the entire agreement of the Parties
  respecting the sale and purchase of the Acquired Assets and the Assumed Liabilities and the other
  transactions contemplated by this Agreement and supersedes all prior agreements among the
  Parties respecting the sale and purchase of the Acquired Assets and the Assumed Liabilities and
  the other transactions contemplated by this Agreement. In the event an ambiguity or question of
  intent or interpretation arises with respect to this Agreement, the terms and provisions of the
  execution version of this Agreement will control and prior drafts of this Agreement and the
  documents referenced herein will not be considered or analyzed for any purpose (including in
  support of parol evidence proffered by any Person in connection with this Agreement), will be
  deemed not to provide any evidence as to the meaning of the provisions hereof or the intent of the
  Parties with respect hereto and will be deemed joint work product of the Parties.

           9.12 Specific Performance. The Parties agree that irreparable damage, for which
  monetary relief, even if available, would not be an adequate remedy, would occur in the event that
  any provision of this Agreement is not performed in accordance with its specific tenns or is
  otherwise breached, including if any of the Parties fails to take any action required of it hereunder
  to consummate the transactions contemplated by this Agreement. It is accordingly agreed that (a)
  the Parties will be entitled to an injunction or injunctions, specific performance or other equitable
  relief to prevent breaches or threatened breaches of this Agreement and to enforce specifically the
  terms and provisions hereof in the courts described in Section 9.13 without proof of damages or
  otherwise, this being in addition to any other remedy to which they are entitled under this
  Agreement, and (b) the right of specific performance and other equitable relief is an integral part
  of the transactions contemplated by this Agreement and without that right, neither the Sellers nor
  the Purchaser would have entered into this Agreement. The Parties acknowledge and agree that
  any Party pursuing an injunction or injunctions or other Order to prevent breaches or threatened
  breaches of this Agreement and to enforce specifically the terms and provisions of this Agreement
  in accordance with this Section 9.12 will not be required to provide any bond or other security in
  connection with any such Order. The remedies available to the Sellers pursuant to this Section 9.12
  will be in addition to any other remedy to which they were entitled at law or in equity, and the
  election to pursue an injunction or specific performance will not restrict, impair or otherwise limit
  any Sellers from seeking to collect or collecting damages. If, prior to the Outside Date, any Party
  brings any Action, in each case in accordance with this Section 9.12, to enforce specifically the
  performance of the terms and provisions hereof by any other Party, the Outside Date will
  automatically be extended (y) for the period during which such Action is pending, plus ten (10)
  Business Days or (z) by such other time period established by the court presiding over such Action,
  as the case may be. In no event will this Section 9.12 be used, alone or together with any other
  provision of this Agreement, to require any Sellers to remedy any breach of any representation or
  warranty of any Sellers made herein.

         9.13 Jurisdiction and Exclusive Venue. Each of the Parties irrevocably agrees that any
  Action that may be based upon, arising out of, or related to this Agreement or the negotiation,

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   execution or performance of this Agreement and the transactions contemplated hereby brought by
  any other Party or its successors or assigns will be brought and determined only in (a) the
  Bankruptcy Court and any federal court to which an appeal from the Bankruptcy Court may be
  validly taken or (b) if the Bankruptcy Court is unwilling or unable to hear such Action, in the
  Delaware Court of Chancery (or, if the Delaware Chancery Court declines to accept jurisdiction
  over a particular matter, any state or federal court located within Wilmington, Delaware) (the
  courts described in clauses (a) and (b), the “Chosen Courts"), and each of the Parties hereby
  irrevocably submits to the exclusive jurisdiction of the Chosen Courts for itself and with respect
  to its property, generally and unconditionally, with regard to any such Action arising out of or
  relating to this Agreement and the transactions contemplated hereby. Each of the Parties agrees
  not to commence any Action relating thereto except in the Chosen Courts, other than Actions in
  any court of competent jurisdiction to enforce any Order, decree or award rendered by any Chosen
  Court, and no Party will file a motion to dismiss any Action filed in a Chosen Court on any
  jurisdictional or venue-related grounds, including the doctrine of forum non-conveniens. The
  Parties irrevocably agree that venue would be proper in any of the Chosen Courts, and hereby
  irrevocably waive any objection that any such court is an improper or inconvenient forum for the
  resolution of such Action. Each of the Parties further irrevocably and unconditionally consents to
  service of process in the manner provided for notices in Section 9.3. Nothing in this Agreement
  will affect the right of any Party to serve process in any other manner permitted by Law.

           9.14     Governing Law; Waiver of Jury Trial.

                  (a)   Except to the extent the mandatory provisions of the Bankruptcy Code
  apply, this Agreement, and any Action that may be based upon, arising out of or related to this
  Agreement or the negotiation, execution or performance of this Agreement or the transactions
  contemplated hereby will be governed by and construed in accordance with the internal Laws of
  the State of Delaware applicable to agreements executed and performed entirely within such State
  without regards to conflicts of law principles of the State of Delaware or any other jurisdiction that
  would cause the Laws of any jurisdiction other than the State of Delaware to apply.

             (b)  EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
  CONTROVERSY THAT MAY ARISE UNDER THIS AGREEMENT, THE DOCUMENTS
  AND AGREEMENTS CONTEMPLATED HEREBY AND THE TRANSACTIONS
  CONTEMPLATED HEREBY AND THEREBY IS LIKELY TO INVOLVE COMPLICATED
  AND DIFFICULT ISSUES AND EACH PARTY THEREFORE HEREBY WAIVES, TO THE
  FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO
  A TRIAL BY JURY IN ANY ACTION BASED ON, ARISING OUT OF OR RELATED TO
  THIS AGREEMENT, ANY DOCUMENT OR AGREEMENT CONTEMPLATED HEREBY OR
  THE TRANSACTIONS CONTEMPLATED HEREBY AND THEREBY. EACH OF THE
  PARTIES AGREES AND CONSENTS THAT ANY SUCH ACTION WILL BE DECIDED BY
  COURT TRIAL WITHOUT A JURY AND THAT THE PARTIES TO THIS AGREEMENT
  MAY FILE AN ORIGINAL COUNTERPART OF A COPY OF THIS AGREEMENT WITH
  ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF THE PARTIES TO THE
  IRREVOCABLE WAIVER OF THEIR RIGHT TO TRIAL BY JURY. EACH PARTY (I)
  CERTIFIES THAT NO ADVISOR OF ANY OTHER PARTY HAS REPRESENTED,
  EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE
  EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND (II)

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  ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HAVE BEEN INDUCED TO
  ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL
  WAIVERS AND CERTIFICATIONS IN THIS SECTION. THE PROVISIONS OF THIS
  SECTION 9.13 SHALL BE ENFORCEABLE BY EACH DEBT FINANCING SOURCE, ITS
  AFFILIATES AND THEIR RESPECTIVE SUCCESSORS AND PERMITTED ASSIGNS.

          9.15 Counterparts. This Agreement and any other agreements referred to herein or
  therein, and any amendments hereto or thereto, may be executed in multiple counterparts, any one
  of which need not contain the signature of more than one party hereto or thereto, but all such
  counterparts taken together will constitute one and the same instrument. Delivery of an executed
  counterpart of the signature page to this Agreement or any agreement or instrument contemplated
  hereby by email, facsimile, portable document format (pdf) or any electronic signature complying
  with the U.S. federal ESIGN Act of 2000 (including DocuSign) shall be as effective as delivery of
  a manually executed counterpart of this Agreement. Minor variations in the form of the signature
  page to this Agreement or any agreement or instrument contemplated hereby, including footers
  from earlier versions of this Agreement or any such other document, will be disregarded in
  determining the effectiveness of such signature. At the request of any party or pursuant to any
  such Contract, each other party hereto or thereto will re-execute original forms thereof and deliver
  them to all other parties. No party hereto or to any such Contract will raise the use of a
  DocuSign, .PDF or other electronic transmission to deliver a signature or the fact that any signature
  or Contract was transmitted or communicated through the use of DocuSign, .PDF or other
  electronic transmission as a defense to the formation of a Contract and each such party forever
  waives any such defense.

          9.16 Publicity. Neither the Sellers nor the Purchaser shall issue any press release or
  public announcement concerning this Agreement or the transactions contemplated hereby without
  obtaining the prior written approval of the other Party, which approval will not be unreasonably
  withheld, conditioned or delayed, unless, in the reasonable judgment of the Purchaser or the
  Sellers, as the case may be, disclosure is otherwise required by applicable Law or by the
  Bankruptcy Court with respect to filings to be made with the Bankruptcy Court in connection with
  this Agreement, provided that the Party intending to make such release shall use its reasonable
  best efforts consistent with such applicable Law or Bankruptcy Court requirement to consult with
  the other Party with respect to the text thereof.

          9.17 Bulk Sales Laws. The Parties intend that, pursuant to section 363(f) of the
  Bankruptcy Code, the transfer of the Acquired Assets contemplated hereby shall be free and clear
  of any Encumbrances (other than Permitted Encumbrances) including any liens or claims arising
  out of the bulk transfer laws, and the Parties shall take such steps as may be necessary or
  appropriate to so provide in the Sale Order. In furtherance of the foregoing, each Party hereby
  waives compliance by the Parties with the “bulk sales,” “bulk transfers” or similar Laws and all
  other similar Laws in all applicable jurisdictions in respect of the transactions contemplated by
  this Agreement.

         9.18 No Solicitation. This Agreement and the transactions contemplated herein are the
  product of negotiations among the Parties. Notwithstanding anything herein to the contrary, this
  Agreement is not, and shall not be deemed to be, (a) a solicitation of votes for the acceptance of
  any plan of reorganization for the purposes of sections 1125 and 1126 of the Bankruptcy Code or

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  otherwise or (b) an offer for the issuance, purchase, sale, exchange, hypothecation, or other transfer
  of securities or a solicitation of an offer to purchase or otherwise acquire securities for purposes of
  the Securities Act of 1933 (“Securities Act') or the Securities Exchange Act of 1934 (the
  “Exchange Act”) and the Seller will not solicit acceptances of any plan of reorganization from any
  party until such party has been provided with copies of a disclosure statement containing adequate
  information as required by section 1125 of the Bankruptcy Code.

           9.19     Release.

                  (a)     Effective upon the Closing, the Sellers on behalf of themselves and their
  respective Affiliates and each of their respective directors, officers, control persons (as defined in
  Section 15 of the Securities Act or Section 20 of the Exchange Act), members, employees, agents,
  attorneys, financial advisors, consultants, professional advisors, legal representatives,
  shareholders, partners, estates, successors and assigns solely in their capacity as such, and any of
  their respective agents, attorneys, financial advisors, professional advisors, legal advisors,
  Affiliates, directors, managers, officers, control persons, shareholders, members or employees, in
  each case, solely in their capacity as such (each a “Related Party”, and collectively, the “Related
  Parties”) acknowledges that it has no claim, counterclaim, setoff, recoupment, action or cause of
  action of any kind or nature whatsoever against the Purchaser or any of its Related Parties that
  directly or indirectly arises out of, is based upon, or is in any manner connected with any
  transaction, event, circumstances, action, failure to act or occurrence of any sort or type, including
  any approval or acceptance given or denied, whether known or unknown, which occurred, existed,
  was taken or begun prior to the consummation of the transactions contemplated hereunder (any
  and all such direct or derivative claims, collectively, the “Seller Released Claims”)', and, should
  any Seller Released Claims nonetheless exist, the Seller on behalf of itself and its Related Parties
  hereby (i) releases and discharges the Purchaser and its Related Parties from any liability
  whatsoever on such Seller Released Claims that directly or indirectly arises out of, is based upon,
  or is in any manner connected with any transaction, event, circumstances, action, failure to act or
  occurrence of any sort or type, including any approval or acceptance given or denied, whether
  known or unknown, which occurred, existed, was taken or begun prior to the consummation of the
  transactions contemplated hereunder, and (ii) releases, remises, waives and discharges all such
  Seller Released Claims against the Purchaser and its Related Parties; provided that nothing herein
  shall release the Purchaser of its obligations under this Agreement and the other documents and
  agreements contemplated herein.

                   (b)     Effective upon the Closing, the Purchaser on behalf of itself and its
  Affiliates acknowledges that it has no claim, counterclaim, setoff, recoupment, action or cause of
  action of any kind or nature whatsoever against the Sellers or any of its Related Parties that directly
  or indirectly arises out of, is based upon, or is in any manner connected with any transaction, event,
  circumstances, action, failure to act or occurrence of any sort or type, including any approval or
  acceptance given or denied, whether known or unknown, which occurred, existed, was taken or
  begun prior to the consummation of the transactions contemplated hereunder (any and all such
  direct or derivative claims, collectively, the “Purchaser Released Claims”)', and, should any
  Purchaser Released Claims nonetheless exist, the Purchaser on behalf of itself and its Affiliates
  hereby (i) releases and discharges the Sellers and each of its Related Parties from any liability
  whatsoever on Purchaser Released Claims that directly or indirectly arises out of, is based upon,
  or is in any manner connected with any transaction, event, circumstances, action, failure to act or

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  occurrence of any sort or type, including any approval or acceptance given or denied, whether
  known or unknown, which occurred, existed, was taken or begun prior to the consummation of the
  transactions contemplated hereunder, and (ii) releases, remises, waives and discharges all such
  Purchaser Released Claims against the Sellers and each of their Related Parties; provided that
  nothing herein shall release the Sellers of its obligations (A) under this Agreement and the other
  documents and agreements contemplated herein or (B) for indemnification of any individuals
  serving as a director or manager of any Sellers or under any directors and officers insurance policy.

                  (c)    Without limiting in any way the scope of the release contained in this
  Section 9.19 and effective upon the Closing, each Party, to the fullest extent allowed under
  applicable Law, hereby waives and relinquishes all statutory and common law protections
  purporting to limit the scope or effect of a general release, whether due to lack of knowledge of
  any claim or otherwise, including, waiving and relinquishing the terms of any Law which provides
  that a release may not apply to material unknown claims. Each Party hereby affirms its intent to
  waive and relinquish such unknown claims and to waive and relinquish any statutory or common
  law protection available in any applicable jurisdiction with respect thereto.

                                     ARTICLE 10
                  ADDITIONAL DEFINITIONS AND INTERPRETIVE MATTERS

           10.1     Certain Definitions.

          ‘'Action'” means any Order, action, claim (including a counterclaim, cross-claim, or
  defense), complaint, grievance, summons, suit, litigation, arbitration, mediation, audit, proceeding
  (including any civil, criminal, administrative, investigative or appellate proceeding), prosecution,
  contest, hearing, inquiry, inquest, audit, examination or investigation, of any kind whatsoever,
  regardless of the legal theory under which such Liability or obligation may be sought to be
  imposed, whether sounding in Contract or tort, or whether at law or in equity, or otherwise under
  any legal or equitable theory, commenced, brought,, conducted or heard by or before, or otherwise
  involving, any Governmental Body or arbitrator.

          “Affiliate” means, with respect to any Person, any other Person that, directly or indirectly
  through one or more intermediaries, controls, or is controlled by, or is under common control with,
  such Person, and the term “control” (including the terms “controlled by” and “under common
  control with”) means the possession, directly or indirectly, of the power to direct or cause the
  direction of the management and policies of such Person, whether through ownership of voting
  securities, by Contract or otherwise.

          “Alternative Transaction” means any transaction (or series of transactions), whether direct
  or indirect, concerning a sale, merger, acquisition, issuance, financing, recapitalization,
  reorganization, liquidation or disposition of the Sellers or any portion of its equity interests or any
  material portion of its assets (in any form of transaction, whether by merger, sale of assets or equity
  or otherwise) with any party other than the Purchaser or its Affiliates; provided, however, that the
  foregoing shall not include (a) sales of goods and services in the Ordinary Course and (b) any sale
  of the Excluded Assets pursuant to inter alia, sections 105, 363 and 365 of the Bankruptcy Code,
  in accordance with the Bankruptcy Rules.



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          “Anti-Bribery and Anti-Corruption Law” means, collectively: (a) the U.S. Foreign
  Corrupt Practices Act (“FCPA”); (b) the UK Bribery Act 2010; and (c) any other anti-bribery or
  anticorruption laws, statutes, and regulations applicable to the Acquired Business.

           “Assumed Taxes” means any Liability for Taxes arising from the ownership or operation
  of the Acquired Business or the Acquired Assets for any taxable period (including any portion
  thereof) beginning after the Closing Date (including the portion of any Straddle Period after the
  Closing Date). In the case of any Straddle Period, (a) property taxes for the period following the
  Closing Date shall be equal to the amount of such property taxes for the entire Straddle Period
  multiplied by a fraction, the numerator of which is the number of days during the Straddle Period
  that is for the period following the Closing Date and the denominator of which is the number of
  days in the entire Straddle Period, and (b) Taxes (other than property taxes) for the period
  following the Closing Date shall be computed as if such taxable period began on the day following
  the Closing Date.

            “Auction” has the meaning ascribed to such term in the Bid Procedures Order and Section
  4.1(d).

          "Avnet Secured Claim" means the claim of Avnet, Inc. against SQRL in the Bankruptcy
  Case, which claim shall be treated as an allowed claim that is fully secured under 11 U.S.C. §506(a)
  in the amount of three million dollars ($3,000,000).

          “Bid Procedures” means the bidding and sale procedures approved by the Bankruptcy
  Court, including the Competing Bid Requirements set forth in Section 4.1(d).

          “Bid Procedures Order” means a final order of the Bankruptcy Court, in form and
  substance reasonably acceptable to the Purchaser and Sellers, meeting the requirements of Section
  4.1, and which, among other things establishes a date by which Qualified Competing Bids must
  be submitted.

       “Business Day” means any day other than a Saturday, Sunday or other day on which
  commercial banks in Canton, Ohio are generally authorized or required by Law to be closed.

         “Business Intellectual Property” means Intellectual Property used or held out for use in
  the Acquired Business.

           “Cash and Cash Equivalents” means all of the Sellers’ cash (including petty cash and
  checks received on or prior to the Closing), checking account balances, marketable securities,
  certificates of deposits, time deposits, bankers’ acceptances, commercial paper, security
  entitlements, securities accounts, commodity Contracts, commodity accounts, government
  securities and any other cash equivalents, whether on hand, in transit, in banks or other financial
  institutions, or otherwise held.

            “Code” means the United States Internal Revenue Code of 1986.

         “Consent” means any approval, consent, ratification, permission, waiver or other
  authorization, or an Order of the Bankruptcy Court that deems or renders unnecessary the same.


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          ‘'Contract” means any written contract, purchase order, station agreement, tower lease,
  service order, sales order, indenture, note, bond, Lease, sublease, mortgage, agreement, guarantee,
  purchase order, license, collective bargaining agreement, or other agreement that is binding upon
  a Person or its property.

          “COVID-19” means SARS-CoV-2 or COVID-19, any evolutions thereof or related or
  associated epidemics, pandemics or disease outbreaks and any future epidemics, pandemics or
  disease outbreaks.

          “DIP Budget” means the pro forma budget delivered to the Purchaser specifying the
  Sellers’ operating budget, in form and substance reasonably satisfactory to the Purchaser, with any
  modifications thereto made (a) in accordance with the DIP Loan Agreement or (b) with the written
  approval of the Purchaser, not to be unreasonably withheld, conditioned or delayed.

         ‘DIP Financing Motion” means the motion filed by MWDC seeking the Bankruptcy
  Court’s approval of the DIP Loan and the DIP Loan Agreement pursuant to Sections 105, 362,
  363, and 364 of the Bankrtupcy Code, in form and substance reasonably satisfactory to the
  Purchaser.

          “DIP Final Order” means a final order entered by the Bankruptcy Court which, among
  other things, approves the DIP Loan and the DIP Loan Agreement on a final basis, in form and
  substance reasonably satisfactory to the Purchaser.

         “DIP Interim Order” means an interim order entered by the Bankruptcy Court which,
  among other things, approves the DIP Loan Agreement on an interim basis, in form and substance
  reasonably satisfactory to the Purchaser.

          “DIP Loan Agreement’ means that certain Loan and Security Agreement, dated on or
  about the date hereof, by and between the Purchaser, as lender, and MWDC, as borrower.

         “DIP Loan” means debtor-in-possession financing facility made available by the
  Purchaser to MWDC pursuant to the DIP Loan Agreement.

           “Documents” means all of the Sellers’ written files, documents, instruments, papers,
  books, reports, records, tapes, microfilms, photographs, letters, budgets, forecasts, plans, operating
  records, safety and environmental reports, data, studies, and documents, Tax Returns, ledgers,
  journals, title policies, customer lists, listener registries, regulatory filings, operating data and
  plans, research material, technical documentation (design specifications, engineering information,
  test results, maintenance schedules, functional requirements, operating instructions, logic manuals,
  processes, flow charts, etc.), user documentation (installation guides, user manuals, training
  materials, release notes, working papers, etc.), marketing documentation (sales brochures, flyers,
  pamphlets, web pages, etc.), and other similar materials, in each case whether or not in electronic
  form.

           “Encumbrance” means any lien (as defined in section 101(37) of the Bankruptcy Code),
  encumbrance, claim (as defined in section 101(5) of the Bankruptcy Code), charge, mortgage, deed
  of trust, option, pledge, security interest or similar interests, hypothecations, easements, rights of
  way, encroachments, Orders and conditional sale or other title retention agreements and other

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  rights of first refusal or first offer, activity and use limitations, title defects, and any other
  restrictions of any kind.

          “Environmental Laws” all applicable Laws including any common law cause of action
  concerning (a) pollution or protection of the enviromnent, or worker health and safety (solely to
  the extent relating to exposure to Hazardous Substances) or (b) the manufacture, processing,
  distribution, use, treatment, storage, disposal, transport, handling, release or threatened release of
  Hazardous Substances.

          “Equipment” means any and all machinery, equipment, auxiliary and translator facilities,
  transmitting towers, transmitters, broadcast equipment, antennae, cables, supplies, vehicles,
  furniture, fixtures, appliances, servers, traffic systems, graphic systems, audio boards, switchers,
  radar systems, microwaves, transponders, relays, backup generators, computers, computer
  hardware and peripherals, information technology infrastructure, telephone systems, office
  equipment, cameras, production equipment, inventory, leasehold improvements, spare parts and
  other tangible personal property of every kind and description, together with all rights against the
  manufacturers and/or suppliers of any of the foregoing.

            ERISA” means the Employee Retirement Income Security Act of 1974.

          “GAAP” means United States generally accepted accounting principles as in effect from
  time to time applied consistently throughout the periods involved.

         “Governmental Authorization” means any permit, license, certificate, approval, consent,
  permission, clearance, designation, qualification or authorization issued, granted, given or
  otherwise made available by or under the authority of any Governmental Body or pursuant to any
  Law.

          “Governmental Body” means any government, quasi governmental entity, or other
  governmental or regulatory body, agency or political subdivision thereof of any nature, whether
  foreign, federal, state or local, or any agency, branch, department, official, entity, instrumentality
  or authority thereof, or any court or arbitrator (public or private) of applicable jurisdiction.

          “Hazardous Substance” means any toxic or hazardous material, substance or waste
  regulated under any Environmental Laws.

          “Intellectual Property” means all intellectual property rights anywhere in the world arising
  under or associated with: (a) patents and patent applications; (b) trademarks, service marks, trade
  dress, trade names, logos, slogans, domain names, and other designations of origin, and all
  registrations and applications for registration therefor, together with all goodwill associated
  therewith; (c) copyrights (and any other equivalent rights in works of authorship (including rights
  in Software as a work of authorship and rights in programs and programming materials)); (d) trade
  secrets and industrial secrets, and rights in know-how and other confidential or proprietary
  business or technical information in each case that derive independent economic value from not
  being generally known (“Trade Secrets”); (e) rights in domain names, uniform resource locators,
  Social Media Accounts, social media identifiers and other names and locators associated with
  Internet addresses and sites; (f) engineering data, advertising studies, databases, marketing and


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  demographic data, advertiser, exhibitor and vendor lists, credit and sales reports; and (g) other
  similar or equivalent intellectual property rights anywhere in the world.

          “Knowledge of the Seller”, “Seller’s Knowledge”, “Seller has Knowledge” and words of
  similar import mean the actual knowledge of David Stanfill after due inquiry.

         “Law” means any federal, state, provincial, local, municipal, foreign or international,
  multinational or other law, statute, legislation, constitution, principle of common law, resolution,
  ordinance, code, edict, decree, proclamation, treaty, convention, rule, regulation, ruling, directive,
  pronouncement, determination, decision, opinion or requirement issued, enacted, adopted,
  promulgated, implemented or otherwise put into effect by or under the authority of any
  Governmental Body.

           “Liability” means, as to any Person, any debt, adverse claim, liability (including any
  liability that results from, relates to or arises out of tort or any other product liability claim), duty,
  responsibility, obligation, commitment, assessment, cost, expense, loss, expenditure, charge, fee,
  penalty, fine, contribution, or premium of any kind or nature whatsoever, whether known or
  unknown, asserted or unasserted, absolute or contingent, direct or indirect, accrued or unaccrued,
  liquidated or unliquidated, or due or to become due, and regardless of when sustained, incurred or
  asserted or when the relevant events occurred or circumstances existed.

           “Material Adverse Effect' means any event, change, occurrence, or effect (each, an
  “Effect”) that, individually or in the aggregate with all other Effects, has had, or would reasonably
  be expected to have, a material adverse effect on (x) the Acquired Business or (y) the Acquired
  Assets and Assumed Liabilities, taken as whole; provided, however, that none of the following,
  and no Effect arising out of, or resulting from, the following, shall constitute, or be taken into
  account, individually or in the aggregate, in determining whether or not there has been, a Material
  Adverse Effect: (a) Effects in, arising from or relating to general business or economic conditions
  affecting the industry in which the Sellers operate, (b) Effects in, arising from or relating to national
  or international political or social conditions, including rioting, domestic disturbance or the
  engagement by the United States in hostilities or the escalation thereof, whether or not pursuant to
  the declaration of a national emergency or war, or the occurrence or the escalation of any military,
  cyber or terrorist attack upon the United States, or any of its territories, possessions, or diplomatic
  or consular offices or upon any military installation, asset, equipment or personnel of the United
  States, (c) Effects in, arising from or relating to financial, banking, or securities markets (including
  (i) any disruption of any of the foregoing markets, (ii) any change in currency exchange rates, (iii)
  any decline or rise in the price of any security, commodity, Contract or index and (iv) any increased
  cost, or decreased availability, of capital or pricing or terms related to any financing for the
  transactions contemplated by this Agreement), (d) Effects in, arising from or relating to changes
  in GAAP, (e) Effects in, arising from or relating to changes in, Laws or other binding directives
  or determinations issued or made by or agreements with or consents of any Governmental Body,
  (f) Effects in, arising from or relating to (i) the taking of any action at the request of the Purchaser
  or its Affiliates, (ii) the failure to take any action if such action is prohibited by this Agreement,
  (iii) the Purchaser’s failure to consent to any of the actions restricted in Section 5.1 or (iv) the
  negotiation, announcement or pendency of this Agreement or the transactions contemplated hereby
  or the identity, nature or ownership of the Purchaser, including the impact thereof on the
  relationships, contractual or otherwise, of the business of the Sellers with employees, customers.

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  lessors, suppliers, vendors or other commercial partners, (g) Effects that arise from any seasonal
  fluctuations in the Sellers’ business and operations, (h) any failure, in and of itself, to achieve any
  budgets, projections, forecasts, estimates, plans, predictions, performance metrics or operating
  statistics or the inputs into such items (whether or not shared with the Purchaser or its Affiliates or
  professional advisors) (but, for the avoidance of doubt, not the underlying causes of any such
  failure to the extent such underlying cause is not otherwise excluded from the definition of Material
  Adverse Effect), (i) the effect of any action taken by the Purchaser or its Affiliates with respect to
  the transactions completed by this Agreement or the financing thereof or any breach by the
  Purchaser of this Agreement, (j) the matters set forth on the Schedules and any changes or
  developments in, or effects or results arising from or relating to, matters expressly set forth on the
  Schedules, (k) (i) the commencement or pendency of the Bankruptcy Case; (ii) any objections in
  the Bankruptcy Court to (A) this Agreement or any of the transactions contemplated hereby or
  thereby, (B) the reorganization of the Sellers, or (C) the assumption or rejection of any Assigned
  Contract; and (iii) any Order of the Bankruptcy Court or any actions or omissions of the Sellers in
  compliance therewith, or (m) any fire, flood, hurricane, earthquake, tornado, windstorm, other
  calamity or act of God, global or national health concern, epidemic, pandemic (whether or not
  declared as such by any Governmental Body), viral outbreak (including COVID-19), including
  any Law, directive, pronouncement or guideline issued by a Governmental Body, the Centers for
  Disease Control and Prevention, the World Health Organization or industry group providing for
  business closures, “sheltering-in-place”, curfews or other restrictions that relate to, or arise out of,
  a national health concern, epidemic or pandemic (including COVID-19) or any change in such
  Law, directive pronouncement or guideline thereof following the date of this Agreement or any
  material worsening of such conditions threatened or existing as of the date of this Agreement or
  any quarantine, stay-at-home orders, shelter-in-place orders, or trade restrictions related thereto or
  any other force majeure; provided, further, however, that any Effect referred to in clauses (a), (b)
  or (c) may be taken into account in determining whether or not there has been or may be a Material
  Adverse Effect to the extent such Effects have a materially disproportionate adverse effect on the
  Acquired Business, taken as a whole, as compared to other participants engaged in the industries
  and geographies in which the Sellers operate the Acquired Business.

         “Order” means any injunction, order, decree, ruling, writ, assessment or arbitration award
  of a Governmental Body, including any order entered by the Bankruptcy Court in the Bankruptcy
  Case (including the Sale Order).

          “Ordinary Course” means the ordinary and usual course of operations of the Acquired
  Business consistent with past practice, taking into account the commencement and pendency of
  the Bankruptcy Case and recent past practice in light of COVID-19; provided, that, any action
  taken, or omitted to be taken, in good faith on a commercially reasonable basis that relates to, or
  arises out of, COVID-19 shall be deemed to be in the Ordinary Course.

          “Permitted Encumbrances” means (a) utilities and current Taxes not yet due and payable,
  or the amount or validity of which are being contested in good faith by appropriate proceedings,
  or the nonpayment of which is permitted or required by the Bankruptcy Code, (b) easements, rights
  of way, restrictive covenants, encroachments and similar non-monetary encumbrances or non­
  monetary impediments of public record against any of the Acquired Assets, (c) materialmans’,
  mechanics’, artisans’, shippers’, warehousemans’ or other similar common law or statutory liens
  incurred in the Ordinary Course for amounts not yet due and payable or the amount or validity of

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  which are being contested in good faith by appropriate proceedings, (d) such other Encumbrances
  or title exceptions as the Purchaser may approve in writing in its sole discretion or which do not,
  individually or in the aggregate, materially and adversely affect the operation of the Acquired
  Assets, (e) any Encumbrances that will be removed or released by operation of the Sale Order, (f)
  Encumbrances included in the Assumed Liabilities, and (g) liens that will be released at Closing.

          “Person” means an individual, corporation, partnership, limited liability company, joint
  venture, association, trust, unincorporated organization, labor union, estate, Governmental Body
  or other entity or group.

          “Protected Information” means “personally identifiable information” within the meaning
  of section 363(b) of the Bankruptcy Code included as part of the Acquired Assets.

         “Sale Motion” means the motion of the Sellers seeking approval and entry of the Bid
  Procedures Order and the Sale Order in form and substance approved by the Purchaser.

           “Sale Order” means the order of the Bankruptcy Court to be entered by the Bankruptcy
  Court pursuant to Sections 363 and 365 of the Bankruptcy Code in form and substance approved
  by the Purchaser, which order, amongst other approvals, (a) approves the sale of the Acquired
  Assets to the Purchaser free and clear of all Encumbrances and Liabilities pursuant to Section
  363(f) of the Bankruptcy Code other than the Assumed Liabilities as set forth herein, and (b)
  approves the direct payment by Purchaser to Avnet, Inc. of $3,000,000 of the Purchase Price in
  full satisfaction of the Avnet Secured Claim.

          “Seller Plan” means (a) “employee benefit plan” within the meaning of Section 3(3) of
  ERISA, (b) stock option, stock purchase, stock appreciation right or other equity or equity-based
  agreement, program or plan, (c) employment, severance, retention or other similar agreement, and
  (d) bonus, incentive, deferred compensation, profit-sharing, post- tennination health or welfare,
  vacation, severance or termination pay or other material compensation or benefit plan, program,
  policy, agreement or other arrangement, in all cases, other than any plan or arrangement sponsored
  or maintained by a Governmental Body.

         “Social Media Account” means an account registration with a social media platform, such
  as Facebook, Instagram, Twitter, Pinterest, Google, TikTok and the like, and includes handle
  names.

         “Straddle Period” means any Tax period beginning on or before, and ending after, the
  Closing.

          “Tax” or “Taxes” means any federal, state, local, foreign or other income, gross receipts,
  capital stock, franchise, profits, withholding, social security, unemployment, disability, real
  property, ad valorem/personal property, stamp, excise, occupation, sales, use, transfer, value
  added, import, export, alternative minimum or estimated tax, including any interest, penalty or
  addition thereto.

          “Tax Return” means any return, claim for refund, report, statement or information return
  relating to Taxes required to be filed with a Governmental Body, including any schedule or
  attachment thereto, and including any amendments thereof.

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          10.2 Rules of Interpretation. Unless otherwise expressly provided in this Agreement,
  the following will apply to this Agreement, the Schedules, the exhibits and any other certificate,
  instrument, agreement or other document contemplated hereby or delivered hereunder:

                 (a)    Accounting terms which are not otherwise defined in this Agreement have
  the meanings given to them under GAAP consistently applied. To the extent that the definition of
  an accounting term defined in this Agreement is inconsistent with the meaning of such term under
  GAAP, the definition set forth in this Agreement will control.

                  (b)     The terms “hereof,” “herein” and “hereunder” and terms of similar import
  are references to this Agreement as a whole and not to any particular provision of this Agreement.
  Section, clause, schedule and exhibit references contained in this Agreement are references to
  sections, clauses, schedules and exhibits in or to this Agreement, unless otherwise specified. All
  exhibits and Schedules annexed hereto or referred to herein are hereby incorporated in and made
  a part of this Agreement as if set forth in full herein. Any capitalized terms used in any Schedule
  or exhibit but not otherwise defined therein shall be defined as set forth in this Agreement.

                 (c)     Whenever the words “include,” “includes” or “including” are used in this
  Agreement, they will be deemed to be followed by the words “without limitation.” Where the
  context permits, the use of the term “or” will be equivalent to the use of the term “and/or.”

                 (d)    The words “to the extent” shall mean the degree to which a subject or other
  thing extends, and such phrase shall not mean simply “if.”

                 (e)     When calculating the period of time before which, within which or
  following which any act is to be done or step taken pursuant to this Agreement, the date that is the
  reference date in calculating such period will be excluded. If the last day of such period is a day
  other than a Business Day, the period in question will end on the next succeeding Business Day.

                 (f)     Words denoting any gender will include all genders, including the neutral
  gender. Where a word is defined herein, references to the singular will include references to the
  plural and vice versa.

                 (g)    The word “will” will be construed to have the same meaning and effect as
  the word “shall”. The words “shall,” “will,” or “agree(s)” are mandatory, and “may” is permissive.

                (h)     All references to “$” and dollars will be deemed to refer to United States
  currency unless otherwise specifically provided.

                 (i)     All references to a day or days will be deemed to refer to a calendar day or
  calendar days, as applicable, unless otherwise specifically provided.

                 (j)     Any document or item will be deemed “delivered,” “provided” or “made
  available” by the Sellers, within the meaning of this Agreement if such document or item is (i)
  actually delivered or provided to the Purchaser or any of the Purchaser’s professional advisors or
  (ii) made available upon request, including at the Sellers’ offices.



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                (k)    Any reference to any agreement or Contract will be a reference to such
  agreement or Contract, as amended, modified, supplemented or waived.

                 (l)     Any reference to any particular Code section or any Law will be interpreted
  to include any amendment to, revision of or successor to that section or Law regardless of how it
  is numbered or classified; provided that, for the purposes of the representations and warranties set
  forth herein, with respect to any violation of or non-compliance with, or alleged violation of or
  non-compliance, with any Code section or Law, the reference to such Code section or Law means
  such Code section or Law as in effect at the time of such violation or non-compliance or alleged
  violation or non-compliance.

                (m)    A reference to any Party to this Agreement or any other agreement or
  document shall include such Party’s successors and permitted assigns.

                 (n)     The Parties have participated jointly in the negotiation and drafting of this
  Agreement. In the event an ambiguity or question of intent or interpretation arises, this Agreement
  shall be construed as if drafted jointly by the Parties and no presumption or burden of proof shall
  arise favoring or disfavoring any party by virtue of the authorship of any of the provisions of this
  Agreement.

                 (o)   This Agreement is in the English language, and while this Agreement may
  be translated into other languages, the English language version shall control. All notices,
  demands, requests and other documents or communications under or in connection with this
  Agreement will be in English or will be accompanied by a certified English translation (in which
  case the English version will prevail in the event of a conflict except to the extent the
  communication contains or consists of an official document issued by a Governmental Body in a
  language other than English).



                                       [Signature pages follow]




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         IN WITNESS WHEREOF, the parties hereto have executed this Agreement to be
  signed effective as of the date first above written by their duly authorized agents.

   SELLERS:                                           BUYER:

   SQUIRRELSRESEARCH LABS LLC                         INSTANTIATION LLC

   By:                       ________________         By: _____________________________
   NameiQgyjd             gtanfill                    Name: Sam Cassatt
   Title: QEO                                         Title: Managing Member


   THE MIDWEST DATA COMPANY LLC

   By:             ________________
   Name: David Stanfill
   Title: CEO




                                 Signature page to Asset Purchase Agreement

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         IN WITNESS WHEREOF, the parties hereto have executed this Agreement to be
  signed effective as of the date first above written by their duly authorized agents.

  SELLERS:                                       BUYER:

  SQUIRRELS RESEARCH LABS LLC                    INSTANTIATION LLC
                                                      /**-~~~DocuSigned by:



  By: _____________________________              By: °rtFe;2ft&§f?7L1-&84-&e-T
  Name:                                          Name: Sam Cassatt
  Title:                                         Title: Managing Member


  THE MIDWEST DATA COMPANY LLC

  By: _____________________________
  Name:
  Title:




                            Signature page to Asset Purchase Agreement

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                                        Schedule 1.1(a)

                                        Bank Accounts
  JPMorgan Chase Bank Acct *******6063 (SQRL)
  JPMorgan Chase Bank Acct *******3991 (SQRL)
  JPMorgan Chase Bank Acct *******1770 (SQRL)
  Premier Bank Acct ******95 (SQRL)
  Crypto Mining accounts (2) (SQRL)
  JPMorgan Chase Bank Acct *****7939 (MWDC)
  JPMorgan Chase Bank Acct *****7962 (MWDC)




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                                           Schedule 1.1(c)
                             Leasehold, Subleasehold, or License Interests

  Lease Agreement for 8050 Freedom Avenue with One Haines Company, 120-month term.
  Signed May 5, 2020.

  Lease Agreement for 7579 Freedom (“Skymax” building) with One Skymax Company, 120-
  month term. Signed March 16, 2020.

  Lease Agreement for Fishers Foods building with GS8100. 120-month term. Signed 9-8-2020.




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                                           Schedule 1.1(e)

                                         Assigned Contracts

  Hosted customer contracts including the following customers:

   Jose A Rubio
   Robert Renna
   Jonathan Hulecki__
   Robert Oxsen
   Marco Mendoza
   Spencer Gabriel
   Singh
   Jose A Rubio
   Jose Nunez....... ........
   Fabian Delmotte
   Richard
   Ramazinski____ _
   Richard Hall
   Jason Palmer
   Todd Dallimore
   Barry Gluntz
   Yannick Vergull
   Matthew Peterson
   Matthew Peterson
   Michael Erceg
   Arran Grade
   Aditya Chauhan
   Andrew Wolf
   James Soldi_           __
   Aaron Strating _
   Henrik Gustafsson
  lIMBliBwftililiiliBBlilB
   Artem Pylypchuk
  Instantiation LLC




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                                         Schedule 1.1(1)

                                       Insurance Claims

  Cincinnati Insurance Company- Date of Loss: July 15, 2021. Fire damage to building and
  contents at 8050 Freedom Avenue building. Unknown value of loss.




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                                          Schedule 1.2(g)

                                    Excluded Causes of Action


  SQRL v. Fleur de Lis, Case No, 2021 CV 00251, Stark County, Ohio Court of Common Pleas

  Potential claims against Roehl Trading for undelivered equipment and against Alpine Mining for
  undelivered equipment.

  Potential Claims against Michael Maranda and/or Michael Maranda LLC.

  Avoidance Actions, including those causes of action brought pursuant to Chapter 5 of the
  Bankruptcy Code




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                                        Schedule 2.5(a)

                                          Contracts
  No additional known at this time.




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                                           Schedule 2.6

                                            Litigation

  TorEA Consulting Ltd. vs. Squirrels Research Laboratories LLC, 2021CV1091, Stark County
  Common Pleas Court .115 Central Plaza North Canton, OH 44702

  Everhart Glass Co., Inc. v. Kylin Construction, LLC and Squirels Research Labs, LLC 2021-CV-
  01487 , Stark County Common Pleas Court 115 Central Plaza North Canton. OH 44702

  Threats of litigation have also been brought forth by counsel for Mr. Michael Maranda/Michael
  Maranda LLC and counsel for Mr, Karl Forsell.




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                                          Schedule 2.9(a)

                                       Intellectual Property

  SQRL intellectual property includes the following:
  -Unregistered copyrights
  -Detailed customer lists
  -www. squirrelsresearch. com




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                                         Schedule 6.2(e)

                                      Third Party Consents

  None known at this time.




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